EXHIBIT A
          Case: 24-2934        Document: 13        Page: 1      Date Filed: 10/31/2024




                           IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE THIRD CIRCUIT

 MICHAEL MILLER
      Appellant,                                   Civ. No: 24-2934

        v.



 COUNTY OF LANCASTER, ET. AL.,
     Appellee.




     APPELLANT’S MOTION FOR JUDICIAL INTERVENTION TO
REVOKE CLERK’S UNAUTHORIZED DIRECTIVE (DOC 11-1) AND TO
      REINSTATE TRANSPARENT BRIEFING PROCEDURE


       Appellant, Michael Miller, respectfully moves this Court for judicial intervention to

revoke the clerk’s unauthorized stay of the briefing schedule and unilateral listing for summary

action, and to reestablish a transparent, procedurally valid briefing process.



I. INTRODUCTION

       Appellant brings this motion to challenge the clerk’s sua sponte action on October 30,

2024 (Doc 11-1) in staying the briefing schedule and listing this case for summary action, actions

which impact Appellant’s right to a fair and transparent appellate process. This motion seeks a

procedural correction specific to Appellant’s due process rights; therefore, concurrence from

opposing parties has not been sought. Nonetheless, all parties have been served with this motion

in accordance with procedural requirements.



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II. STATEMENT OF RELIEF SOUGHT

Appellant requests that the Court:

   1. Issue a judicial order revoking the clerk’s stay of the briefing schedule and unilateral

       listing for summary action;

   2. Reinstate Appellant’s motion to expedite the briefing schedule;

   3. Clarify the limits of clerical authority under FRAP 27 and Local Rule 27 to prevent

       future procedural overreach; and

   4. Ensure that all future procedural actions in this matter requiring judicial authority are

       properly documented to uphold transparency and procedural integrity.




III. GROUNDS FOR RELIEF

   1. Unauthorized Assumption of Judicial Authority: The clerk’s actions exceed the

   permissible scope of clerical authority under FRAP 27 and Local Rule 27, which restrict

   clerical tasks to non-dispositive, administrative matters. Summary actions and briefing

   schedules are substantive procedural decisions that require judicial oversight, as outlined in

   Appellant’s supporting brief.

   2. Violation of Appellant’s Due Process Rights: Procedural fairness and transparency are

   fundamental protections that should be maintained throughout appellate proceedings. By

   unilaterally staying the briefing schedule without judicial order, the clerk has prevented

   Appellant from participating meaningfully in the appellate process, infringing upon

   Appellant’s due process rights and compromising a fair opportunity to present arguments in a



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  timely and transparent manner.

  3. Necessity of Judicial Order for Procedural Integrity: To ensure adherence to FRAP and

  Local Rules, a documented judicial order is essential for all substantive procedural actions.

  This requirement upholds procedural integrity, preventing unauthorized clerical interference

  and ensuring a fair and accountable appellate process, as described in the supporting brief.




IV. WHEREFORE

     WHEREFORE, Appellant moves this Court:

  1. Revoke the clerk’s stay of the briefing schedule and unilateral listing for summary action;

  2. Reinstate Appellant’s motion to expedite the briefing schedule;

  3. Clarify the limits of clerical authority under FRAP 27 and Local Rule 27 to prevent any

     further procedural overreach; and

  4. Ensure that all future substantive procedural actions in this matter are properly

     documented through judicial order, thereby preserving transparency and procedural

     integrity.




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                          IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE THIRD CIRCUIT

 MICHAEL MILLER
      Appellant,                                  Civ. No: 24-2934

        v.



 COUNTY OF LANCASTER, ET. AL.,
     Appellee.




                                     PROPOSED ORDER



Upon consideration of Appellant’s Motion for Judicial Intervention, it is hereby ORDERED that:

   1. The clerk’s directive staying the briefing schedule and listing this case for summary

       action is hereby REVOKED.

   2. Appellant’s motion to expedite the briefing schedule is REINSTATED and will be

       considered by the Court.

   3. The authority of the clerk is limited as per FRAP 27 and Local Rule 27 to non-

       dispositive, administrative actions, and all substantive procedural actions must be

       accompanied by a judicial order.

   4. The Court directs that all future actions affecting the progression of this appeal be

       documented in compliance with established judicial norms and procedural integrity.

       SO ORDERED.

       Dated: [Date]



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      By the Court:

      [Judge’s Name]

      [Judge’s Title]




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                                CERTIFICATE OF SERVICE

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EXHIBIT B
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                       IN THE UNITED STATES COURT OF APPEALS
                                FOR THE THIRD CIRCUIT

 MICHAEL MILLER
 Appellant,                                          Civ. No: 24-2934

 v.



 COUNTY OF LANCASTER, ET. AL.,
 Appellee.




  APPELLANT’S BRIEF IN SUPPORT OF MOTION TO CHALLENGE CLERK’S
UNAUTHORIZED ACTIONS AND TO DEMAND REINSTATEMENT OF A FAIR AND
                 TRANSPARENT BRIEFING PROCESS


I.     INTRODUCTION

Appellant files this motion to demand judicial intervention and rectification of the clerk’s

unauthorized stay of the briefing schedule and unilateral listing of this appeal for possible

summary action. The clerk’s actions—taken sua sponte, without judicial order or any filed

motion—constitute a procedural violation that impacts Appellant’s right to a fair and transparent

appellate process under Local Rule 27 and the Federal Rules of Appellate Procedure. Given the

nature of the issue, concurrence from opposing parties has not been sought, but all parties have

been served with this motion.



II.    STATEMENT OF THE ISSUE

Whether the clerk’s unilateral decision to stay briefing and list this appeal for possible summary


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action violates procedural rules that ensure judicial oversight, thus impacting Appellant’s right to

due process and a transparent appellate review.



III. ARGUMENT

1. Text of LR 27 for Context and Reference

To establish the scope and limitations of Local Rule 27, the relevant sections are provided below:

   •   LR 27.4 Motions for Summary Action

           o   (a) “A party may move for summary action affirming, enforcing, vacating,

               remanding, modifying, setting aside, or reversing a judgment, decree, or order,

               alleging that no substantial question is presented or that subsequent precedent or

               a change in circumstances warrants such action. In addition, the court may sua

               sponte list a case for summary action.”

           o   (b) “Except for a change in circumstances or a change in law, motions for

               summary action or dismissal should be filed before the appellant’s brief is due.

               The court or the clerk may at any time refer a motion for summary action to a

               merits panel and direct that briefs be filed.”

   •   LR 27.5 Powers of Single Judge: “A single judge of the court may not grant or deny a

       motion that the court has ordered to be acted on by the court or a panel thereof…”

   •   LR 27.6 Motions Decided by the Clerk: “The clerk may entertain and dispose of any

       motion that can ordinarily be disposed of by a single judge of this court under the

       provisions of FRAP 27(c) and 3d Cir. L.A.R. 27.5, provided the subject of the motion is

       ministerial…”




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2. Judicial Oversight Requirement under LR 27.4(b)

       Local Rule 27.4(b) is designed to safeguard procedural integrity by ensuring that

summary actions are initiated only through judicial authority in response to a party’s motion,

except where there is a change in law or circumstances warranting sua sponte action by the court

itself. By mandating judicial involvement, LR 27.4(b) protects the appellant’s right to due

process and a transparent review process, foreclosing clerical initiation of dispositive actions.

Here, in the absence of a filed motion or judicial directive, the clerk’s unilateral actions are

outside the scope of authorized procedural conduct, violating these essential safeguards.



3. Procedural Violations under LR 27.6 and FRAP 27(b)

       Local Rule 27.6 and FRAP 27(b) strictly limit clerical authority to ministerial, non-

dispositive tasks. Specifically, LR 27.6 confines the clerk’s role to actions “that can ordinarily be

disposed of by a single judge” or are otherwise purely ministerial and administrative in nature.

FRAP 27(b) likewise restricts the clerk’s scope to “procedural orders” based on motions filed by

parties and does not authorize independent clerical action to alter briefing schedules or the

progression of a case. By unilaterally issuing a stay and listing the case for summary action, the

clerk exceeded these rules, impacting Appellant’s due process rights and right to a meaningful

appellate review.



4. Rule 27.4(b) Does Not Permit Clerical Initiation of Summary Action or Stays

       Local Rule 27.4(b) specifies that motions for summary action should be initiated by a

party or by the court in response to a motion, clearly excluding clerical authority. Without a filed

motion or judicial order, the clerk’s actions exceed any permissible scope.



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          Procedural decisions involving summary actions must come from the judicial panel, as

clerical decisions in such matters lack precedent. Internal appellate review resources reiterate

that summary actions must be subject to judicial review to protect procedural rights. The clerk’s

assumption of authority in this case is procedurally unfounded, violating Appellant’s due process

rights.



5. Clerical Authority is Limited to Non-Dispositive, Ministerial Tasks (LAR 27.5, 27.6, and
FRAP 27(b))

          Under FRAP 27 and Local Rules 27.5 and 27.6, clerks are restricted to administrative

tasks and non-dispositive actions. FRAP 27(b) addresses procedural motions filed by parties and

does not authorize independent clerical actions without judicial direction.

          Staying the briefing schedule without judicial authorization far exceeds these boundaries,

engaging in actions left to judicial review. The clerk’s unilateral decision to list this case for

summary action and impose a stay infringes upon the judiciary’s exclusive authority, making the

action procedurally invalid.



6. Procedural Fairness Requires Adherence to Established Judicial Rules

As the Supreme Court has emphasized, “procedural rules are essential to the protection of due

process rights” (Grayned v. City of Rockford, 408 U.S. 104, 108 (1972)). Due process demands

not only procedural adherence but the assurance that no procedural shortcuts are taken to the

detriment of an appellant’s rights. The clerk’s unauthorized stay of briefing, without judicial

order, directly interferes with these protections, denying Appellant a fair opportunity to present

arguments within an orderly and transparent process.




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7. Demand for Scrupulous Adherence to Procedural Rules or Retraction

       Appellant demands that any judicial directives regarding summary action be transparent

and consistent with procedural standards. Adherence to procedural integrity is critical for the

protection of due process rights.

   Appellant seeks the following judicial relief:

   1. Retract the clerk’s directive to stay briefing and list the case for summary action;

   2. Reinstate Appellant’s motion to expedite the briefing schedule;

   3. Issue a judicial order affirming the limits of clerical authority under FRAP 27 and LR

       27; and

   4. Uphold a transparent, documented appellate process that safeguards Appellant’s

       rights.

       Should these requests for relief be denied, Appellant reserves all rights to pursue

additional remedies for any further interference with procedural and substantive due process.



IV. CONCLUSION

Appellant demands:

   1. Immediate retraction of the clerk’s directive to stay briefing;

   2. Reconsideration of Appellant’s motion to expedite the briefing schedule;

   3. Judicial clarification of clerical limits to prevent further procedural overreach;

   4. Documentation of all substantive procedural actions by judicial order to uphold

       procedural integrity.



Statement of Systemic Judicial Abuse:



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This procedural abuse mirrors the judicial misconduct encountered in the district court—the very

basis of this appeal. The actions in this matter suggest an intent by judicial actors to evade

substantive review and undermine procedural integrity. Appellant will not acquiesce to this

disregard for due process. A fair appellate process is a fundamental right—one that must be

upheld.



Reservation of Rights:

Appellant explicitly reserves all procedural and substantive rights, including the right to pursue

further judicial review or remedies for any interference with Appellant’s right to a fair and

transparent appellate process. No argument, right, or position is waived, whether or not explicitly

raised in this motion. Appellant reasserts these rights as fully reserved, regardless of how or

when they are raised, and reserves the right to pursue all remedies available in law or equity

should further procedural violations occur.



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                                 CERTIFICATE OF SERVICE

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EXHIBIT C
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                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT

MICHAEL MILLER
Appellant,                                    Civ. No: 24-2934


 v.



 COUNTY OF LANCASTER, ET. AL.,
 Appellees.



APPELLANT’S MOTION FOR JUDICIAL INTERVENTION TO REVOKE
  CLERK’S UNAUTHORIZED DIRECTIVE (DOC 11-1), REINSTATE
      MOTION FOR EXPEDITED BRIEFING, AND AWARD
               COMPENSATORY DAMAGES


I.    INTRODUCTION

      Appellant, Michael Miller, a pro se litigant, submits this motion directly to

the Court’s judicial panel—not in submission to the Clerk’s directive—but to seek

urgent corrective intervention. Appellant demands the revocation of the Clerk’s

unauthorized directives and the unilateral designation of this case for summary

action, as these exceed clerical authority and infringe upon Appellant’s right to a

fair appellate process.




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      Appellant further demands compensation for the time, effort, and resources

expended to address these unauthorized actions, necessary to rectify the burdens

imposed and deter future misconduct.

      The ongoing disregard for procedural and jurisdictional abuse in this case is

unacceptable. Even a pro se litigant can see that the Clerk's actions would deny

Appellant’s appeal, conceal the district court’s misdeeds, and aid in the continued

evasion of accountability by the government respondents.

      This Court must uphold procedural integrity to ensure that administrative

boundaries are respected, particularly for those without legal representation.

Therefore, Appellant demands compensation as both a remedy for these harms and

a deterrent against future procedural misconduct.



II. PROCEDURAL COMPLIANCE AND INTERFERENCE UNDER L.A.R.

4.1

      Appellant’s initial motion to expedite briefing was filed within the required

14-day period as specified under L.A.R. 4.1, fulfilling the timing requirement for

expedited review. Judicial intervention is essential to reinstate the motion to

expedite, correct these procedural obstructions, and uphold the standard

requirements under L.A.R. 4.1.




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III. STATEMENT OF RELIEF SOUGHT

Appellant moves and demands that this Court:

   1. Revoke the Clerk’s Unauthorized Actions: Issue a judicial order vacating

      the Clerk’s stay of the briefing schedule and unilateral designation of this

      case for summary action. This revocation is necessary to restore procedural

      transparency and protect Appellant’s right to due process.

   2. Grant Appellant’s Motion to Expedite the Briefing Schedule: Reinstate

      Appellant’s motion to expedite and establish an accelerated briefing

      schedule. The Clerk’s administrative overreach has caused undue delays,

      and an expedited schedule is essential to prevent further harm to Appellant’s

      case and address substantial constitutional questions without further delay.

   3. Clarify the Limits of Clerical Authority Under Local Rule 27 and

      FRAP: Affirm that only a judicial panel may authorize substantive actions

      affecting case progression, including stays and summary designations. This

      order should specify that the Clerk’s authority is strictly limited to

      ministerial, non-dispositive tasks and that any future actions impacting case

      proceedings require explicit judicial authorization.

   4. Award Compensatory Damages to Appellant: Order compensatory

      damages to Appellant in the amount of $4,000, to be paid by the Court itself,


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     not the Respondents. This amount reflects the significant time, financial

     costs, and emotional distress imposed on Appellant due to the Clerk’s

     unauthorized actions. Compensation is necessary to remedy the harm

     inflicted on Appellant and deter future procedural misconduct.

  5. Enforce Procedural Transparency for All Future Clerk Actions: Require

     that any future procedural directives or actions taken by the Clerk that affect

     case progression be issued with clear judicial authorization and documented

     in the case record. This measure will ensure procedural transparency, uphold

     due process, and safeguard Appellant’s rights, as well as the rights of all

     litigants, against unauthorized administrative interference.

  6. Ensure Comprehensive Judicial Review: Direct that any consideration of

     summary disposition or dispositive actions involving this case receive full

     judicial review by a merits panel, allowing for comprehensive briefing and

     transparent examination of the issues at stake. Given the constitutional

     questions raised, summary action is inappropriate, and a full review is

     essential to uphold the integrity of the appellate process and due process

     protections.



IV. GROUNDS FOR RELIEF

1. Unauthorized Assumption of the Court’s Authority


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The Clerk’s actions extend beyond administrative support, usurping the Court’s

authority by unilaterally imposing a stay and suggesting summary action, contrary

to the Court’s rules. As established by Local Rule 27, substantive actions

impacting case progression must originate from the Court, not the Clerk.

Specifically, Local Appellate Rule 27.4 states:

“A party may move for summary action affirming, enforcing, vacating, remanding,

modifying, setting aside or reversing a judgment, decree or order, alleging that no

substantial question is presented or that subsequent precedent or a change in

circumstances warrants such action. In addition, the court may sua sponte list a

case for summary action.”



Additionally, Local Rule 27.4(b) provides:

“Except for a change in circumstances or a change in law, motions for summary

action or dismissal should be filed before appellant’s brief is due. The court or the

clerk may at any time refer a motion for summary action to a merits panel and

direct that briefs be filed.”



These rules clearly restrict the authority to designate a case for summary action to

the Court, allowing the Clerk only to refer motions to a merits panel. The Clerk’s

actions, taken without judicial directive, directly violate these rules, infringing on


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Appellant’s rights and creating undue stress and financial burdens. There was no

motion for summary action; the Court did not act sua sponte; and the Clerk lacks

the authority from LR 27 to take such action. Furthermore, Appellant seeks

compensatory relief to be awarded by the Court itself, not from the appellees.



2. Procedural Integrity and Emotional Harm

Each unauthorized action by the Clerk disrupts the course of justice, forcing

Appellant to expend additional time and resources on issues that should not have

arisen. Appellant has incurred financial costs and endured emotional strain due to

repeated clerical overreach, which interferes with procedural rights and

complicates the appellate process. In Mathews v. Eldridge, 424 U.S. 319 (1976),

the Supreme Court emphasized that due process must balance the private interest

affected and the risk of erroneous deprivation, underscoring the importance of

procedural integrity in administrative actions.



3. Judicial Oversight Requirements under Local Rules 27.5 and 27.6

Local Rules 27.5 and 27.6 underscore the necessity for judicial oversight:

   •   27.5 Powers of Single Judge: “A single judge of the court may not grant or

       deny a motion that the court has ordered to be acted on by the court or a

       panel thereof…”


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   •   27.6 Motions Decided by the Clerk: “The clerk may entertain and dispose

       of any motion that can ordinarily be disposed of by a single judge of this

       court under the provisions of FRAP 27(c) and 3d Cir. L.A.R. 27.5, provided

       the subject of the motion is ministerial, relates to the preparation or printing

       of the appendix and briefs on appeal, or relates to calendar control.”

These rules restrict the Clerk to ministerial tasks, reinforcing that substantive

actions, such as stays or summary listings, require the Court’s action. The Clerk’s

unilateral actions have imposed significant costs on Appellant in terms of time,

money, and emotional well-being. The procedural protections highlighted in

Goldberg v. Kelly, 397 U.S. 254 (1970), emphasize that individuals are entitled to

a fair hearing, which is critical in this context.



4. Demand for Accountability and Compensatory Damages

Appellant demands that this Court establish a clear boundary between clerical and

judicial authority, affirming that only a judicial panel may initiate actions affecting

case progression. Appellant seeks compensatory damages from the court for the

time and resources spent due to the Clerk’s unauthorized actions, specifically 20

hours at $200/hour. This compensation will address the harm caused by these

procedural abuses and deter future overreach.




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5. Objection to Summary Action Without Full Review

Appellant objects to any attempt at summary disposition. The significant

constitutional issues in this appeal warrant full briefing and transparent

examination by the Court. Summary disposition without a proper hearing deprives

Appellant of the fair appellate review that due process requires, as highlighted in

both Goldberg v. Kelly and Mathews v. Eldridge.



V. WHEREFORE

      WHEREFORE, Appellant moves this Court to:

   1. Revoke the Clerk’s Unauthorized Actions: Issue a judicial order vacating

      the Clerk’s directive that unilaterally stayed the case and designated it for

      summary action. Appellant’s motion to expedite the establishment of a

      briefing schedule should be reinstated and properly considered by the Court

      without further administrative interference.

   2. Clarify the Clerk’s Procedural Role: Explicitly define “the Court” as a

      judicial panel with exclusive authority to initiate substantive case actions,

      affirming that clerical authority is limited to administrative and non-

      dispositive tasks.

   3. Enforce Procedural Integrity and Due Process Compliance: Require that

      any future procedural actions affecting Appellant’s case progression be


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    documented with a clear judicial directive.

 4. Award Compensatory Relief to Appellant: Order compensation from the

    Court to Appellant for the time, expenses, and emotional distress resulting

    from these procedural abuses, in the amount of $4,000.

 5. Ensure Comprehensive Judicial Review: Affirm Appellant’s right to full

    briefing and transparent review, reinforcing the Court’s commitment to due

    process in matters involving significant constitutional questions.




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                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT

MICHAEL MILLER
Petitioner,                                Civ. No: 24-2934


v.



COUNTY OF LANCASTER, ET. AL.,
Respondents.

                              PROPOSED ORDER

Upon consideration of Appellant Michael Miller’s Motion for Judicial Intervention

to Revoke Clerk’s Unauthorized Directive, Reinstate a Fair Briefing Procedure,

and Award Compensatory Damages, the Court finds that the procedural actions

taken by the Clerk, as outlined in the Motion, were unauthorized and require

judicial correction to uphold procedural integrity and due process.

Accordingly, it is hereby ORDERED that:

     1. Revocation of Clerk’s Unauthorized Actions

       The Clerk’s unilateral stay of proceedings and summary designation of this

       case are hereby VACATED. Appellant’s motion to expedite the

       establishment of a briefing schedule is REINSTATED for proper judicial

       consideration by the Court, free from further administrative delay or

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   interference.

2. Granting of Appellant’s Motion to Expedite

   Appellant’s Motion to Expedite the Establishment of a Briefing Schedule is

   hereby GRANTED. The Clerk is directed to implement an expedited

   schedule as ordered by the Court, ensuring no additional administrative

   delays occur.

3. Clarification of Clerical Authority

   The Court hereby AFFIRMS that only a judicial panel has the authority to

   initiate substantive actions that affect case progression, including imposing

   stays or designating cases for summary action. The Clerk’s role under LR 27

   is limited to ministerial and administrative tasks.

4. Award of Compensatory Damages

   The Court orders compensatory relief to Appellant in the amount of $4,000,

   payable by the Court. This amount reflects the time, financial expenses, and

   emotional distress incurred by Appellant as a result of the Clerk’s

   unauthorized administrative overreach.

5. Procedural Transparency for Future Clerk Actions

   The Court ORDERS that any future procedural actions taken by the Clerk

   that impact case progression must have the Court’s authorization

   documented in the case record, ensuring procedural transparency and the


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      protection of due process rights.

   6. Comprehensive Judicial Review Requirement

      In light of the significant constitutional questions raised, the Court

      REQUIRES that any consideration of summary disposition or other

      dispositive action in this case undergo comprehensive judicial review by a

      judicial panel, allowing for full briefing and transparent evaluation in

      alignment with due process protections.



It is so ORDERED.

Date: _____________________

BY THE COURT:



[Judges’ Signatures]

United States Court of Appeals for the Third Circuit




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                         CERTIFICATE OF SERVICE

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     Case: 24-2934   Document: 18   Page: 1   Date Filed: 11/18/2024




              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE THIRD CIRCUIT

MICHAEL MILLER
    Appellant,                      Civ. No: 24-2934


    v.



COUNTY OF LANCASTER, ET. AL.,
    Appellees.



                           APPELLATE BRIEF
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                      III. JURISDICTION AND VENUE

1.       JURISDICTION

District Court’s Jurisdiction

The district court had jurisdiction under:

     •   28 U.S.C. § 1331, which grants jurisdiction over cases arising under federal

         law, as Appellant’s claims are rooted in the First and Fourteenth

         Amendments.

     •   28 U.S.C. § 1343(a)(3), which provides jurisdiction over civil rights actions,

         including constitutional challenges.

     •   28 U.S.C. § 2201 (Declaratory Judgment Act), which empowers federal

         courts to issue declaratory judgments in cases of actual controversy arising

         under federal law.

     •   Article III, Section 2 of the U.S. Constitution, which extends the judicial

         power to cases arising under the Constitution, laws of the United States, and

         controversies to which the United States is a party.

Appellate Jurisdiction

The United States Court of Appeals for the Third Circuit has jurisdiction under 28

U.S.C. § 1291, as the appeal is taken from a final decision of the district court.

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Timeliness of Appeal

The district court entered its final judgment on September 30, 2024. Appellant

filed a timely notice of appeal on October 14, 2024, in compliance with Federal

Rule of Appellate Procedure 4(a).




2. VENUE

   Venue was proper in the district court under 28 U.S.C. § 1391(b), as the actions

   giving rise to this litigation occurred within the territorial jurisdiction of the

   court.




                            IV. INTRODUCTION

Executive Summary

This appeal challenges the district court’s dismissal of Appellant’s constitutional

claims, highlighting procedural abuses, jurisdictional misconduct, and systemic

bias reflected in an 18-0 record of rulings against Appellant. This scorecard reflects

the consistency of judicial decisions favoring government respondents and

underscores the failure of impartiality and fairness in the district court’s handling

of the case.


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Purpose of the Brief

This brief compiles and, where applicable, restates objections from the district

court proceedings to preserve the issues for appellate review while separately

rearguing certain points to clarify errors for the appellate court.

Procedural Context

Appellant raised numerous objections to procedural errors, jurisdictional

deficiencies, and judicial misconduct in the district court. These objections were

improperly addressed or ignored, necessitating appellate intervention.

Filing Under Protest

This brief is filed under protest, pursuant to procedural irregularities that include

the Clerk’s improper directive dated October 29, 2024 for summary disposition

under Local Rule 27 over objection and just two weeks after Appellant filed

appeal. Appellant filed timely motions and objections addressing this violation to

the Court but received no response from the Court. This filing is made under

protest and without waiving any rights or claims, as detailed in Appeal Docs. 13–

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 V. STATEMENT OF ISSUES PRESENTED FOR REVIEW

1. Did the district court resolve the Rule 12(b)(1) motion to dismiss before

   issuing substantive rulings?

   Standard: Jurisdictional challenges under Federal Rule of Civil Procedure

   (FRCP) 12(b)(1) must be resolved before the court proceeds to substantive

   or procedural actions (FRCP 12(h)(3); FRCP 1).

   Argument Reference: Argument 1: Jurisdictional Misconduct

2. Did the district court improperly invoke abstention doctrines after

   exercising jurisdiction for nine months?

   Standard: Abstention doctrines may not be invoked as a substitute for

   resolving jurisdictional defects (FRCP 12(b)(1); 28 U.S.C. § 1331).

   Argument Reference: Argument 1: Jurisdictional Misconduct

3. Did the district court dismiss Appellant’s well-pleaded complaint

   without properly applying FRCP 8(a)?

   Standard: Complaints must include a short, plain statement showing

   entitlement to relief and must be construed liberally for pro se litigants

   (FRCP 8(a)(2); FRCP 1).

   Argument Reference: Argument 2: Failure to Adjudicate a Well-Pleaded

   Complaint

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4. Did the district court fail to apply the correct pleading standard when

   dismissing Appellant’s constitutional claims under FRCP 12(b)(6)?

   Standard: A motion to dismiss may only be granted if the complaint fails to

   state a claim upon which relief can be granted (FRCP 12(b)(6)). Pro se

   pleadings must be liberally construed and evaluated for plausibility, not

   perfection (FRCP 1; FRCP 8(e)).

   Argument Reference: Argument 2: Failure to Adjudicate a Well-Pleaded

   Complaint

5. Did the district court abuse its discretion by setting aside OOR’s default

   without “good cause”?

   Standard: Defaults may only be set aside for "good cause" under FRCP

   55(c), which requires an assessment of prejudice, culpability, and merit of

   the defense (FRCP 55(c); FRCP 1).

   Argument Reference: Argument 3: Procedural Abuses and Judicial

   Discretion

6. Did the district court deny Appellant’s motions without sufficient legal

   grounds?

   Standard: The Federal Rules of Civil Procedure require that rulings on

   motions reflect the application of legal standards and provide procedural

   fairness (FRCP 1; FRCP 16).
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   Argument Reference: Argument 3: Procedural Abuses and Judicial

   Discretion

7. Did the district court’s 18-0 record of rulings against Appellant

   demonstrate systemic judicial bias?

   Standard: Judicial impartiality is required by Canon 2 of the Code of

   Conduct for United States Judges and by principles of fairness inherent in

   the Federal Rules of Civil Procedure (FRCP 1; Canon 3).

   Argument Reference: Argument 4: Systemic Bias and the 18-0 Scorecard

8. Did the district court’s procedural delays and inconsistent rulings

   prevent the fair adjudication of Appellant’s claims?

   Standard: Federal Rule of Civil Procedure 1 mandates the just, speedy, and

   inexpensive determination of all actions. Judges must avoid conduct that

   delays or obstructs justice (Canon 3; 28 U.S.C. § 351).

   Argument Reference: Argument 5: Procedural Obfuscation and Judicial

   Hostility

9. Did the district court fail to conduct de novo review of Appellant’s

   objections under FRCP 72(b)?

   Standard: Specific objections to a magistrate judge’s recommendations

   require de novo review by the district court (FRCP 72(b); 28 U.S.C. §


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  636(b)(1)(C)).

  Argument Reference: Argument 5: Procedural Obfuscation and Judicial

  Hostility

10.Did Judges Carlson and Wilson act outside their jurisdiction, rendering

  their actions ultra vires and void?

  Standard: Judges lose immunity when acting outside their jurisdiction or in

  a non-judicial capacity (28 U.S.C. § 1331; FRCP 12(h)(3); Canon 2).

  Argument Reference: Argument 6: Judicial Immunity and Accountability

11.Are compensatory damages warranted for harm caused by judicial

  misconduct and ultra vires actions?

  Standard: Litigants are entitled to damages for harm caused by judicial

  actions taken without jurisdiction or contrary to statutory duties (42 U.S.C. §

  1983; 28 U.S.C. § 1343).

  Argument Reference: Argument 6: Judicial Immunity and Accountability




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                    VI. STATEMENT OF THE CASE

      This appeal arises from a pro se civil rights action brought under federal

question jurisdiction, alleging violations of the First and Fourteenth Amendments.

Appellant filed a Petition for Declaratory Judgment and Constitutional Challenge,

seeking relief against state and county respondents for violations of free speech,

due process, and equal protection rights. Despite presenting a well-pleaded

complaint, Appellant faced procedural delays, selective rulings, and judicial

hostility that resulted in dismissal without adjudication on the merits.

      The district court exercised jurisdiction for nine months, issuing substantive

and procedural rulings before dismissing the case under FRCP 12(b)(1) and

12(b)(6) and invoking abstention doctrines. This sequence created a jurisdictional

paradox: either the court acted without jurisdiction or misused its jurisdiction, both

to Appellant’s detriment. The court failed to promptly resolve jurisdictional

challenges, violating its obligation to address such issues before taking substantive

or procedural actions.

      Key procedural errors include:

   1. Failure to Provide De Novo Review: The district court dismissed

      Appellant’s specific objections as “generalized,” contrary to the

      requirements of FRCP 72(b).



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   2. Improper Setting Aside of Default: The court set aside a default against

      one respondent without demonstrating “good cause” under FRCP 55(c).

   3. Unexplained Denial of Motions: Appellant’s motions were denied without

      explanation, while the court entertained baseless sanctions motions by

      respondents.

      The procedural history reflects a pattern of systemic bias and disregard for

procedural safeguards owed to pro se litigants. The district court exercised

jurisdiction for nine months—issuing substantive and procedural rulings—before

invoking abstention doctrines and dismissing the case under FRCP 12(b)(1) and

12(b)(6). This sequence created a jurisdictional paradox, as the court either acted

without jurisdiction or misused its jurisdiction to the detriment of Appellant.

Notably, the court failed to resolve jurisdictional challenges promptly, violating its

obligation to address jurisdictional issues before substantive or procedural actions.

The district court’s unbroken 18-0 scorecard (Appendix A), with no decisions

favoring Appellant, is a testament to the systemic hostility and lack of impartiality

that permeated the case.

      Appellant’s significant constitutional claims, rooted in the First and

Fourteenth Amendments, remain unadjudicated. The court’s failure to provide the

fairness and leniency required for pro se litigants under binding precedent,



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including Haines v. Kerner, 404 U.S. 519 (1972), further deprived Appellant of a

meaningful opportunity to litigate.

      This appeal seeks to address the district court’s errors, including:

   1. Jurisdictional Misconduct: Failure to resolve jurisdictional issues promptly

      and improper reliance on abstention doctrines.

   2. Misapplication of Procedural Rules: Including errors under FRCP

      12(b)(1), 12(b)(6), 55(c), and 72(b).

   3. Demonstrated Bias: Evidenced by the court’s systemic hostility and

      unbroken record of rulings favoring respondents.

      Appellant requests this Court to vacate void and procedurally flawed orders,

reinstate the Petition, and remand the case for adjudication under an impartial

judge. Additionally, Appellant seeks compensatory relief for harm caused by

judicial misconduct and urges this Court to restore procedural fairness, uphold

constitutional rights, and protect the integrity of the judicial process.




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                       VII. STANDARD OF REVIEW

      The appellate review of this case is governed by established principles that

ensure judicial accountability, adherence to procedural rules, and protection of

constitutional rights. The following standards apply to the alleged errors,

underscoring the appellate court’s duty to rigorously apply these standards.



2.    JURISDICTIONAL MISCONDUCT

Standard:

      •       Jurisdictional findings under Federal Rule of Civil Procedure (FRCP)

      12(b)(1) are reviewed de novo, as they involve questions of law. The

      appellate court must resolve jurisdictional questions independently, without

      deference to the district court’s conclusions.

Authority:

      •       Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 94 (1998):

      Jurisdiction is a threshold issue that must be resolved before substantive or

      procedural rulings.

      •       Federal Rule of Appellate Procedure (FRAP) 28(a): Appellants may

      raise jurisdictional defects at any stage of the proceedings.




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Application:

The appellate court must independently determine whether the district court

improperly exercised jurisdiction for nine months before abstaining and dismissing

the case. Actions taken without jurisdiction, such as procedural rulings and

dismissals, are void.



3.    FAILURE TO ADJUDICATE A WELL-PLEADED COMPLAINT

      STANDARD:

      •       Dismissals under FRCP 12(b)(6) are reviewed de novo. The appellate

      court evaluates whether the complaint states a plausible claim for relief,

      accepting all factual allegations as true and construing them in the light most

      favorable to the plaintiff.

      •       Courts must provide leniency to pro se litigants, construing pleadings

      liberally to ensure fairness.

Authority:

      •       FRCP 12(b)(6): Establishes the standard for dismissing claims that

      fail to state a plausible legal claim.

      •       Haines v. Kerner, 404 U.S. 519 (1972): Pro se litigants are held to less

      stringent standards than attorneys.


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      •         Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009): Requires a “plausible

      claim for relief,” not an “unrealistic or overly detailed” one.

Application:

The appellate court must determine whether the district court erroneously

dismissed Appellant’s well-pleaded constitutional claims. Failure to liberally

construe Appellant’s pleadings or to apply the correct plausibility standard requires

reversal.



4.    PROCEDURAL ABUSES

Standard:

      •         Procedural rulings, such as granting extensions or setting aside

      defaults, are reviewed for abuse of discretion. However, procedural rulings

      made without proper jurisdiction are reviewed de novo, as they are void ab

      initio.

      •         Courts must secure fairness and avoid arbitrary or biased procedural

      decisions under FRCP 1.

Authority:

      •         FRCP 55(c): Requires “good cause” for setting aside defaults.




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      •       United States v. $55,518.05 in U.S. Currency, 728 F.2d 192 (3d Cir.

      1984): Establishes criteria for setting aside defaults.

      •       Judicial Canons 2 and 3: Require impartiality, diligence, and

      avoidance of impropriety in judicial actions.

Application:

The appellate court must evaluate whether the district court abused its discretion

by selectively applying procedural rules to favor respondents, including setting

aside OOR’s default without good cause, denying Appellant’s motions without

sufficient grounds, and mismanaging venue issue.



5.    DEMONSTRATION OF BIAS AND SYSTEMIC HOSTILITY

      STANDARD:

      •       Claims of judicial bias are reviewed de novo. The appellate court must

      determine whether the record demonstrates actual bias or an appearance of

      bias that undermines public confidence in the judiciary.

      •       Structural errors or systemic bias are reversible per se, as they violate

      constitutional guarantees of impartiality.

Authority:




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      •       Canon 2, Code of Conduct for United States Judges: Judges must

      avoid impropriety and the appearance of impropriety.

      •       Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 884 (2009): Bias or

      the appearance of bias erodes judicial legitimacy.

      •       Haines v. Kerner, 404 U.S. 519 (1972): Pro se litigants must be

      treated fairly to protect their rights.

Application:

The appellate court must assess the district court’s 18-0 record of rulings against

Appellant as evidence of systemic hostility and bias. Such a record demands

reassignment to an impartial judge on remand.



6.    JUDICIAL HOSTILITY AND PROCEDURAL OBFUSCATION

      STANDARD:

      •       Procedural irregularities, such as prolonged delays and inconsistent

      rulings, are reviewed for abuse of discretion. However, when such actions

      create systemic bias or undermine constitutional claims, de novo review is

      warranted.

      •       Failure to conduct de novo review of objections under FRCP 72(b)

      constitutes reversible error.


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Authority:

      •       FRCP 72(b): Requires district courts to conduct de novo review of

      objections to magistrate recommendations.

      •       Gonzalez v. United States, 553 U.S. 242, 254 (2008): Appellate courts

      review structural errors without deference to the district court.

Application:

The appellate court must determine whether the district court’s selective

enforcement of procedural rules and reliance on pretextual abstention doctrines

denied Appellant a fair opportunity to litigate claims.



7.    JUDICIAL IMMUNITY AND ACCOUNTABILITY STANDARD:

      •       Questions of judicial immunity are reviewed de novo. Judges lose

      immunity for actions taken in the clear absence of jurisdiction or in violation

      of constitutional rights.

      •       Orders issued without jurisdiction are void and must be vacated.

Authority:

      •       Stump v. Sparkman, 435 U.S. 349, 356-57 (1978): Judicial immunity

      applies only when judges act within their jurisdiction and judicial capacity.




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      •       Scheuer v. Rhodes, 416 U.S. 232 (1974): Judges acting as trespassers

      of the law lose immunity.

      •       Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514 (1868): Orders

      without jurisdiction are void.

Application:

The appellate court must evaluate whether Judges Carlson and Wilson acted

beyond their jurisdiction, rendering their actions ultra vires and void. This includes

rulings on sanctions, procedural extensions, and dismissals.



Conclusion on Standards of Review

Each of Appellant’s claims is subject to rigorous standards that limit judicial

discretion and protect procedural and constitutional rights. When these standards

are misapplied, appellate courts must reverse or vacate the affected rulings to

restore fairness and integrity to the judicial process.




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                   VIII. SUMMARY OF THE ARGUMENT


The district court violated procedural fairness, jurisdictional clarity, and judicial

impartiality. Appellant’s constitutional claims were dismissed in disregard of

binding legal standards, requiring reversal.


Argument 1: The court improperly exercised jurisdiction for nine months before

abstaining and sustaining 12(b)(1), violating the requirement to resolve

jurisdictional issues first. All rulings made without jurisdiction are void.


Argument 2: The dismissal under FRCP 12(b)(6) failed to apply the well-pleaded

complaint rule and required leniency for pro se litigants, demanding reinstatement

of the Petition.


Argument 3: Procedural abuses, including setting aside OOR’s default without

“good cause” and denying Appellant’s motions, deprived Appellant of a fair

process.


Argument 4: The district court’s 18-0 record of rulings against Appellant

demonstrates systemic bias, requiring reassignment to an impartial judge.




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Argument 5: Procedural delays, selective rule enforcement, and pretextual

abstention created a procedural fog that obstructed fair adjudication of Appellant’s

claims.


Argument 6: Judges Carlson and Wilson exceeded their jurisdiction, rendering

their actions ultra vires. Compensatory relief is warranted for harm caused by

judicial misconduct.


Each failure demonstrates a breach of the applicable standards of review,

necessitating vacatur of flawed orders, reinstatement of the Petition, reassignment

to an impartial judge, and supervisory guidance to ensure procedural fairness.




 IX. RESTATEMENT OF RIGHTS, OBJECTIONS, AND NON-

                                      WAIVER

Restatement of Rights, Objections, and Non-Waiver

Appellant reiterates that all rights, claims, and objections have been preserved

throughout the proceedings. This appeal explicitly restates objections raised below

and asserts that none have been waived. The record demonstrates a coordinated

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effort to assail Appellant’s ability to sustain his claims and objections through

procedural attacks by both the judges and OOR’s counsel, the Attorney General’s

office, as evidenced in Docs. 49, 52, 55, 64, and Docs. 11-1 and 17 in the appeal

record.

Preservation of Rights and Claims

By explicitly restating objections as raised below, Appellant ensures that no issue

is waived on appeal. This approach:

•      Aligns with FRCP 72(b) and appellate procedure, ensuring that objections

are properly preserved for review.

•      Rebuts procedural mischaracterizations and attacks from respondents and

the district court.

•      Reinforces that the dismissal of objections constitutes reversible error.

Demand for Findings of Fact and Conclusions of Law

To the extent that this Court agrees with the district court’s rulings or the

respondents’ arguments concerning dismissal (Doc. 64), Appellant demands

findings of fact and conclusions of law under FRCP 52(a). Such findings are

essential to comply with due process and to create a clear record for potential

further review.




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                                 X. ARGUMENT

1.      JURISDICTIONAL MISCONDUCT – A PROCEDURAL PARADOX

The district court's prolonged exercise of jurisdiction, followed by an abrupt

abstention and dismissal under FRCP 12(b)(1), created a jurisdictional paradox that

rendered its orders void and prejudiced Appellant. This failure violates FRCP

12(b)(1), principles established in Steel Co. v. Citizens for a Better Environment,

and the foundational requirement that jurisdictional authority be resolved at the

outset.



Rule:

     1. Federal Rules of Civil Procedure:

           o   FRCP 12(b)(1): A motion to dismiss for lack of subject matter

               jurisdiction must be resolved before any substantive or procedural

               actions.

           o   FRCP 1: Rules should secure the just, speedy, and inexpensive

               determination of every action.

     2. Federal Case Law:




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        o   Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 93-94

            (1998): Jurisdiction must be resolved before addressing substantive or

            procedural matters.

        o   Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514 (1868): Actions taken

            without jurisdiction are void.

        o   Scheuer v. Rhodes, 416 U.S. 232, 94 S. Ct. 1683 (1974): Judges acting

            beyond their jurisdiction lose immunity, and their rulings are void.




Supporting Objections Below:

  1. Delays in Resolving 12(b)(1):

        o   Doc. 63: Appellant objected to the court’s delay in ruling on 12(b)(1)

            motions, emphasizing the necessity of resolving jurisdiction before

            engaging in procedural rulings.

  2. Abstention Post-Jurisdictional Engagement:

        o   Doc. 60: Appellant challenged the magistrate judge's recommendation

            to abstain and sustain 12(b)(1) after nine months of jurisdictional

            engagement, highlighting the inconsistency and prejudice caused.




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Application:

The district court violated FRCP 12(b)(1) and Steel Co. by engaging in substantive

and procedural actions for nine months without resolving the 12(b)(1) motion.

These actions included:

   •   Issuing procedural extensions favoring respondents (Doc. 34).

   •   Entertaining baseless sanctions motions (Doc. 48-1, Doc. 51) while delaying

       Appellant’s cross-motions (Doc. 53).

       By later invoking abstention doctrines to dismiss the case, the court created a

jurisdictional paradox:

   1. If the court had jurisdiction, its exercise of abstention was improper, as the

       case required resolution on the merits.

   2. If the court lacked jurisdiction, all prior actions—including procedural

       rulings—are void under Ex parte McCardle.

       This sequence prejudiced Appellant by:

   •   Denying timely adjudication of constitutional claims raised in Doc. 1

       (Petition).

   •   Creating procedural chaos that shielded respondents from accountability

       while disadvantaging a pro se litigant.



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Conclusion:

The district court failed the standard required under FRCP 12(b)(1) and Steel Co..

This failure renders its actions reversible per se. Relief should include:

     1. Vacating all orders tainted by jurisdictional misconduct.

     2. Reversing the 12(b)(1) dismissal.

     3. Remanding for adjudication on the merits under supervisory guidance that

        prioritizes resolving jurisdiction before substantive actions.




2.      FAILURE TO ADJUDICATE A WELL-PLEADED COMPLAINT – A

        PROCEDURAL MISSTEP

The district court improperly dismissed Appellant’s well-pleaded complaint under

FRCP 12(b)(6), failing to apply the correct standard and disregarding the deference

owed to pro se litigants. This dismissal contravened procedural rules requiring

courts to assume the truth of factual allegations and provide a fair opportunity for

claims to proceed.



Rule:

     1. Federal Rules of Civil Procedure:


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        o   FRCP 12(b)(6): A complaint may only be dismissed if it fails to state

            a claim upon which relief can be granted. Courts must assume the

            truth of factual allegations and construe them in the light most

            favorable to the plaintiff.

        o   FRCP 8(a)(2): A pleading must contain a short and plain statement of

            the claim showing entitlement to relief.

  2. Federal Case Law:

        o   Haines v. Kerner, 404 U.S. 519 (1972): Pro se complaints are held to

            less stringent standards than those drafted by lawyers. Courts must

            liberally construe such pleadings to ensure fairness.

        o   Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007): A complaint must

            allege enough facts to state a claim that is plausible on its face.

        o   Ashcroft v. Iqbal, 556 U.S. 662 (2009): Plausibility under FRCP

            12(b)(6) requires more than conclusory statements but does not

            demand detailed factual allegations.




Supporting Objections Below:

  1. Dismissal Without Addressing Merits:



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         o   Docs. 24, 28, 60: Appellant objected to the dismissal of the Petition

             under 12(b)(6), arguing that the court failed to consider the well-

             pleaded allegations and misapplied the standard of review.

   2. Lack of Deference to Pro Se Status:

         o   Doc. 40: Appellant objected to the court’s failure to afford leniency to

             his pro se filings, as required under Haines v. Kerner.




Application:

The district court violated FRCP 12(b)(6) and Haines by failing to adjudicate

Appellant’s well-pleaded claims according to the proper legal standard:

   1. Procedural Deficiency:

         o   The court dismissed Appellant’s claims without assuming the truth of

             his factual allegations, contrary to FRCP 12(b)(6) and Twombly. For

             example:

                "   Appellant alleged specific constitutional violations related to

                    public access and free speech in Doc. 1 (Petition), but these

                    were summarily dismissed without sufficient grounds in Doc.

                    64.



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                 "   The court failed to explain why Appellant’s allegations did not

                     meet the plausibility standard under FRCP 8(a)(2).

   2. Failure to Provide Pro Se Leniency:

          o   The court disregarded the leniency required under Haines, as evident

              in its dismissal of Appellant’s procedural objections in Doc. 40.

              Instead of construing Appellant’s filings liberally, the court dismissed

              them as incoherent, undermining Appellant’s ability to assert his

              claims effectively.

   3. Prejudice to Appellant:

          o   The court’s improper dismissal precluded Appellant from litigating

              substantive constitutional claims. This prejudiced his right to due

              process and equal protection under the law.




Conclusion:

The district court failed to apply the proper leniency for pro se litigants under

Haines v. Kerner and misapplied the plausibility standard under FRCP 12(b)(6)

and Iqbal. Its dismissal of Appellant’s well-pleaded complaint is reversible per se.

Relief should include:

   1. Reversing the dismissal under 12(b)(6).

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     2. Reinstating the Petition for proper adjudication on the merits.

     3. Issuing supervisory guidance to emphasize the leniency owed to pro se

        litigants and the proper application of the plausibility standard under FRCP

        12(b)(6).




3.      PROCEDURAL ABUSES – DENIAL OF FUNDAMENTAL

        FAIRNESS

The district court’s selective application of procedural rules—setting aside OOR’s

default without “good cause,” denying Appellant’s motions without explanation,

entertaining baseless sanctions motions, and mishandling venue considerations—

demonstrates a disregard for Appellant’s procedural rights and the integrity of the

Federal Rules of Civil Procedure.



Rule:

     1. Federal Rules of Civil Procedure:

           o   FRCP 55(c): Defaults may only be set aside for "good cause,"

               requiring evidence of excusable neglect and no prejudice to the

               opposing party.




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        o   FRCP 72(b): A district court must conduct de novo review of specific

            objections to a magistrate judge’s recommendations.

        o   FRCP 1: The rules must be construed to secure the just, speedy, and

            inexpensive determination of every action.

        o   28 U.S.C. § 1406(a): Courts may dismiss or transfer cases filed in the

            wrong venue to cure defects but must do so in the interest of justice.

  2. Judicial Conduct:

        o   Canon 3, Code of Conduct for United States Judges: Judges must

            diligently and impartially perform their duties to ensure procedural

            fairness.




Supporting Objections Below:

  1. Improper Setting Aside of Default:

        o   Docs. 14, 25, 40: Appellant objected to the court’s decision to set

            aside OOR’s default without requiring “good cause” under FRCP

            55(c), emphasizing that OOR’s failure to respond was inexcusable and

            prejudiced Appellant.

  2. Denial of Procedural Motions:


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         o   Doc. 20: The court denied Appellant’s motion for default judgment

             without explanation, ignoring OOR’s procedural failure.

         o   Doc. 29: Appellant’s motion to strike was denied without addressing

             its merits, depriving him of procedural relief.

         o   Doc. 45, 46: The court denied Appellant’s motions to comply with LR

             16.4 (conference request) and FRCP 55 (fact-finding on default),

             undermining Appellant’s ability to present his case.

   3. Venue Mismanagement:

         o   Docs. 42, 60: Appellant objected to the court’s sua sponte decision to

             transfer venue, arguing that the court failed to properly evaluate the

             statutory requirements under 28 U.S.C. § 1406(a).




Application:

The district court’s actions violated procedural rules and created systemic

prejudice against Appellant:

   1. Improper Setting Aside of Default:

         o   FRCP 55(c) requires “good cause” to set aside a default, including a

             showing of excusable neglect and no prejudice to the opposing party.

             OOR failed to meet this standard, as it provided no valid excuse for its
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         default. Appellant raised this objection in Docs. 10, 25, 40, but the

         court summarily granted OOR’s motion without sufficient analysis.

2. Denial of Procedural Motions:

     o   Appellant’s motions for default judgment (Doc. 20), to strike (Doc.

         29), and for procedural compliance (Docs. 45, 46) were denied

         without explanation, contrary to the requirements of FRCP 1 and

         FRCP 55. This selective enforcement of rules disadvantaged

         Appellant and violated his right to a fair process.

3. Venue Mismanagement:

     o   The court improperly raised the issue of venue sua sponte and

         transferred the case without adequate justification under 28 U.S.C. §

         1406(a). Appellant objected in Docs. 42, 60, but the court failed to

         demonstrate how the transfer served the interest of justice, leaving

         Appellant to restart proceedings in a new forum.

4. Systemic Prejudice and Bias:

     o   The court’s consistent denials of Appellant’s motions, contrasted with

         its favorable treatment of respondents’ procedural requests, reflect

         systemic bias and disregard for judicial impartiality under Canon 3.



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Conclusion:

The district court abused its discretion by failing to enforce FRCP 55(c) when it set

aside OOR’s default without “good cause” and by selectively applying procedural

rules in violation of FRCP 1. The district court’s procedural abuses, including

improper default handling, denial of Appellant’s motions, and venue

mismanagement, constitute reversible errors. Relief should include:

     1. Vacating all orders tainted by procedural abuses, including the order setting

        aside OOR’s default and rulings denying Appellant’s motions.

     2. Issuing supervisory guidance to clarify proper handling of defaults,

        sanctions motions, and venue considerations to ensure procedural fairness

        for pro se litigants.

     3. Reassigning the case to an impartial judge to prevent further bias or hostility

        in future proceedings.




4.      SYSTEMIC BIAS AND THE 18-0 SCORECARD

The district court's unbroken record of 18 rulings in favor of government

respondents against Appellant demonstrates systemic bias, a failure of impartiality,

and a disregard for Appellant’s constitutional rights as a pro se litigant.


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Rule:

  1. Judicial Conduct:

         o   Canon 2, Code of Conduct for United States Judges: Judges must

             avoid impropriety and the appearance of impropriety in all activities.

         o   Canon 3: Judges must diligently and impartially perform the duties of

             their office.

  2. Federal Rules of Civil Procedure:

         o   FRCP 1: Rules must secure the just, speedy, and inexpensive

             determination of every action.

         o   FRCP 72(b): A district court must conduct de novo review of specific

             objections to a magistrate judge’s recommendations.

  3. Precedent on Impartiality and Fairness:

         o   Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 884 (2009): Bias or

             the appearance of bias undermines public confidence in the judiciary.

         o   Haines v. Kerner, 404 U.S. 519 (1972): Courts must provide

             procedural leniency and fairness to pro se litigants.

Supporting Objections Below:

  1. Systemic Bias Demonstrated by 18-0 Record:

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        o   Docs. 25, 40, 52, 53, 60, 63: Appellant objected to the district court’s

            consistent rulings against him, highlighting the procedural and

            substantive errors in favor of the government respondents.

  2. Failure to Conduct De Novo Review:

        o   Docs. 52, 60: Appellant objected to Judge Wilson’s refusal to conduct

            a de novo review of his objections to the magistrate judge’s

            recommendations under FRCP 72(b).

        o   Doc. 52, 60: Appellant cited procedural hostility when the court

            dismissed objections as “generalized,” failing to provide substantive

            consideration.

  3. Selective Application of Procedural Rules:

        o   Docs. 14, 20, 40, 48-1, 51, 55, 63: Appellant objected to the court’s

            selective application of rules, including setting aside OOR’s default,

            granting respondents’ motions for extensions, and summarily denying

            Appellant’s motions.

Application:

  1. The 18-0 Scorecard:




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         o   The district court ruled in favor of respondents in all 18 substantive

             and procedural decisions, as evidenced by the detailed scorecard

             below and in Appendix A.

      Summary of Key Decisions Favoring Government Respondents:

         o   Decision #1: County’s Motion to Dismiss (12(b)(1) & 12(b)(6)) –

             Granted

         o   Decision #2: OOR's Motion for Extension to Respond – Granted

         o   Decision #7: Judge Wilson Denies De Novo Review of Pro Se

             Objections – Denied

      This pattern reflects systemic bias, particularly against a pro se litigant, who

is entitled to procedural leniency under Haines v. Kerner. By failing to balance

procedural fairness, the court eroded public confidence in its impartiality, violating

Canons 2 and 3.

   2. Failure to Review Objections De Novo:

         o   Judge Wilson dismissed Appellant’s objections as “generalized”

             under Goney v. Clark, but the objections were specific and pointed to

             clear procedural and legal errors (Docs. 40, 60).

         o   In contrast, other district courts in the Third Circuit, such as the

             Middle District court in Nieves v. Griffits, showed deference to pro se
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              litigants by conducting de novo review. The court’s refusal to do so

              here underscores its systemic hostility. (Doc. 55, 64)

   3. Selective Rule Application:

         o    The court selectively applied procedural rules, granting respondents

              procedural relief while denying Appellant the same consideration

              (Docs. 20, 25, 30, 39, 40, 42, 44, 45, 46, 53, 55, 60).

         o    The court entertained baseless sanctions motions by government

              respondents for five months, allowing government retaliation and

              coercion, further demonstrating bias.

Conclusion:

The district court’s systemic bias, evidenced by the 18-0 scorecard and selective

procedural rulings, demands appellate intervention. Relief should include:

   1. Reassignment to an Impartial District Court Judge: Reassign the case to

      an impartial district court judge to ensure fairness and impartiality in future

      proceedings.

   2. Supervisory Guidance: Issue guidance to address systemic bias against pro

      se litigants and ensure adherence to Canons 2 and 3.




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     3. Judicial Ethics Review: Refer Judges Carlson and Wilson for investigation

        under 28 U.S.C. § 351 to address systemic hostility and procedural

        misconduct in this case.




5.      PROCEDURAL FOG AND JUDICIAL HOSTILITY

The district court’s inconsistent rulings, prolonged delays, and pretextual

invocation of abstention created a procedural fog that shielded respondents from

accountability and denied Appellant a substantive adjudication of constitutional

claims. Coupled with systemic hostility, these actions undermined judicial

impartiality and fairness.



Rule:

     1. Judicial Impartiality and Hostility:

           o   Canon 2, Code of Conduct for United States Judges: Judges must

               avoid impropriety and the appearance of impropriety in all activities.

           o   Canon 3: Judges must diligently and impartially perform the duties of

               their office.




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        o   Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 884 (2009): Bias or

            the appearance of bias erodes public confidence in the judiciary.

  2. Federal Rules of Civil Procedure:

        o   FRCP 1: Rules must secure the just, speedy, and inexpensive

            determination of every action.

        o   FRCP 72(b): A district court must conduct de novo review of specific

            objections to a magistrate judge’s recommendations.

  3. Abstention Doctrines and Jurisdictional Clarity:

        o   Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 93-94

            (1998): Jurisdiction must be resolved before addressing substantive or

            procedural matters.

        o   Colorado River Water Conservation Dist. v. United States, 424 U.S.

            800, 813 (1976): Federal courts have a “virtually unflagging

            obligation” to exercise jurisdiction.




Supporting Objections Below:

  1. Prolonged Jurisdictional Engagement:




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        o   Docs. 39, 44, 63: Appellant objected to the court’s extended delay in

            resolving Rule 12(b)(1) motions while actively exercising jurisdiction,

            issuing procedural orders, and entertaining sanctions motions (Docs.

            48-1, 51).

  2. Pretextual Invocation of Abstention:

        o   Doc. 60: Appellant objected to the magistrate judge’s

            recommendation to abstain after nine months of jurisdictional

            engagement, which contradicted Steel Co. and caused procedural

            confusion.

  3. Selective Application of Procedural Rules:

        o   Docs. 40, 55, 59, 60, 64: Appellant objected to the court granting

            respondents’ motions for extensions and dismissals while summarily

            denying Appellant’s motions without substantive review.

  4. Failure to Conduct De Novo Review:

        o   Docs. 40, 60: Appellant objected to the court’s failure to conduct de

            novo review of objections under FRCP 72(b).




Application:


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1. Procedural Fog and Jurisdictional Paradox:

  o    The district court engaged in substantive and procedural actions for nine

       months, including issuing procedural rulings and entertaining motions,

       before sustaining Rule 12(b)(1). This creates a paradox: the court either

       acted without jurisdiction, rendering its actions void, or misused its

       jurisdiction in a manner prejudicial to Appellant.

  o    The invocation of abstention doctrines after prolonged jurisdictional

       engagement compounded procedural confusion and evading the

       constitutional claims at issue.

2. Hostility Toward Pro Se Litigant:

  o    The court’s selective application of procedural rules favored respondents

       at every stage while disadvantaging Appellant:

  "    Granting respondents’ extensions (Doc. 34) while summarily denying

       Appellant’s procedural motions (Docs. 20, 40, 45, 55).

  "    Entertaining baseless sanctions motions by respondents (Docs. 48-1, 51)

       while refusing to rule on Appellant’s cross-motion (Doc. 53).

  o    The court dismissed Appellant’s specific objections under FRCP 72(b) as

       “generalized,” contrary to its duty of de novo review, and failed to


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           address the detailed legal errors identified in Appellant’s objections

           (Docs. 40, 52, 55).

      3. Evident Hostility in Record:

      o    The unbroken pattern of adverse rulings against Appellant, including

           procedural and substantive decisions, reflects systemic hostility. The 18-0

           Scorecard presented in Argument 4 corroborates this pattern,

           demonstrating the court’s consistent bias.




Conclusion:

The district court’s procedural fog and hostility toward Appellant, as evidenced by

inconsistent rulings, jurisdictional paradoxes, and systemic bias, necessitate

appellate intervention. Relief should include:

   1. Vacatur of Flawed Orders: Reverse the district court’s orders, including

      the 12(b)(1) dismissal, abstention ruling, and denials of Appellant’s motions.

   2. Reassignment to an Impartial Judge: Ensure future proceedings are

      conducted fairly, free of bias or hostility.

   3. Supervisory Guidance: Issue guidance to address structural bias against pro

      se litigants, emphasizing adherence to FRCP 1 and Canons 2 and 3 of the

      Code of Conduct for United States Judges.

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     4. Judicial Ethics Review: Investigate systemic hostility and procedural

        misconduct under 28 U.S.C. § 351 to restore public confidence in judicial

        impartiality.




6.      JUDICIAL IMMUNITY AND ACCOUNTABILITY

Judges Carlson and Wilson acted beyond their judicial authority by engaging in

ultra vires conduct, including prolonged jurisdictional engagement, procedural

rulings without legal foundation, and dismissals that violated Appellant’s

constitutional rights. These actions strip them of judicial immunity and require

accountability under federal law.



Rule:

     1. Judicial Immunity:

           o   FRCP 12(b)(1): Jurisdictional authority must be resolved before any

               judicial action is taken.

           o   Stump v. Sparkman, 435 U.S. 349, 356-57 (1978): Judicial immunity

               applies only to acts within a judge’s jurisdiction and judicial capacity.




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        o   Scheuer v. Rhodes, 416 U.S. 232, 94 S. Ct. 1683, 1687 (1974):

            Judges acting as trespassers of the law lose immunity, rendering their

            actions void.

        o   Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514 (1868): Orders issued

            without jurisdiction are void.

  2. Accountability for Misconduct:

        o   Canon 3, Code of Conduct for United States Judges: Judges must

            diligently and impartially perform their duties, ensuring adherence to

            the rule of law.

        o   Chambers v. NASCO, Inc., 501 U.S. 32, 46 (1991): Courts may

            impose costs and sanctions for procedural abuses.

  3. Constitutional Liability:

        o   42 U.S.C. § 1983: Officials acting under color of law may be held

            personally liable for constitutional violations.




Supporting Objections Below:

  1. Prolonged Jurisdictional Engagement Without Authority:




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     o   Doc. 63: Appellant objected to the court’s nine-month delay in ruling

         on 12(b)(1) motions while engaging in procedural and substantive

         actions, in direct violation of jurisdictional rules under Steel Co..

2. Void Orders from Ultra Vires Actions:

     o   Docs. 14, 64: Appellant objected to the setting aside of OOR’s default

         and dismissal of the Petition, which were issued without jurisdiction,

         rendering them void under Ex parte McCardle.

3. Retaliatory Use of Sanctions Motions:

     o   Doc. 53: Appellant objected to the court’s failure to rule on cross-

         motions for sanctions, highlighting the selective enforcement of

         procedural rules to Appellant’s detriment.

  New Objection on Appeal:

1. Loss of Judicial Immunity:

     o   Judges Carlson and Wilson’s actions, including entertaining baseless

         sanctions motions (Docs. 48-1, 51) and issuing rulings without

         jurisdiction (Docs. 14, 64), constitute ultra vires conduct. These

         actions strip them of immunity under Scheuer and Pierson v. Ray, 386

         U.S. 547 (1967).



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  2. Violation of Constitutional Rights:

        o   The court’s failure to adjudicate Appellant’s well-pleaded

            constitutional claims and its retaliatory procedural conduct violated

            Appellant’s First and Fourteenth Amendment rights, creating personal

            liability under 42 U.S.C. § 1983.




Application:

  1. Judicial Immunity and Void Orders:

        o   The district court engaged in jurisdictional actions for nine months

            before sustaining Rule 12(b)(1) motions. This either rendered its prior

            actions void under Ex parte McCardle or demonstrated misuse of

            jurisdiction.

        o   By dismissing the Petition without addressing constitutional claims

            and entertaining baseless sanctions motions, the judges acted beyond

            their judicial authority, losing immunity under Scheuer.

  2. Retaliatory Conduct and Selective Enforcement:

        o   The court selectively entertained respondents’ motions while

            disregarding Appellant’s procedural rights, including:



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                 "   Granting respondents’ extensions (Doc. 34) while summarily

                     denying Appellant’s motions for procedural relief (Docs. 20,

                     40, 45, 55).

                 "   Refusing to rule on Appellant’s cross-motion for sanctions

                     (Doc. 53) while entertaining baseless sanctions motions by

                     respondents (Docs. 48-1, 51).

         o    These actions demonstrate hostility and bias, violating Canons 2 and 3

              of the Code of Conduct for United States Judges.

   3. Accountability for Constitutional Violations:

         o    The judges’ ultra vires actions, including the dismissal of well-

              pleaded constitutional claims and retaliatory procedural conduct,

              violated Appellant’s rights under the First and Fourteenth

              Amendments. Such violations create personal liability under 42

              U.S.C. § 1983.




Conclusion:

The district court’s ultra vires actions and judicial misconduct demand appellate

intervention. Relief should include:



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1. Vacatur of Void Orders: Reverse all orders issued without jurisdiction,

   including the 12(b)(1) dismissal, abstention ruling, and denial of Appellant’s

   motions.

2. Compensatory Damages: Award damages for harm caused by judicial

   misconduct, including litigation costs and fees under Chambers v. NASCO,

   Inc., and the Equal Access to Justice Act.

3. Reassignment to an Impartial Judge: Ensure future proceedings are

   conducted fairly and free of bias.

4. Supervisory Guidance: Emphasize that ultra vires actions and jurisdictional

   violations void judicial orders and expose judges to personal liability.

5. Judicial Ethics Review: Investigate systemic bias and procedural abuses

   under 28 U.S.C. § 351 to restore confidence in judicial impartiality.




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                        XI. DEMAND FOR RELIEF

1. Vacatur of Lower Court Orders
   •   Vacate all orders issued by the district court, as they are procedurally and
       substantively flawed:
          o   The improper setting aside of OOR’s default.
          o   All jurisdictional rulings made without resolving jurisdiction first.
          o   The dismissals under FRCP 12(b)(1) and 12(b)(6) without adherence
              to the well-pleaded complaint rule.
          o   Denials of Appellant’s motions without explanation or substantive
              consideration.
2. Reinstatement and Proper Adjudication of the Petition
   •   Reinstate the Petition for adjudication on its merits, ensuring:
          o   All constitutional claims are addressed without prejudice or
              procedural hostility.
          o   Respondents are required to answer under FRCP 8(b)(6) due to their
              default.
3. Mandated Deadlines for Lower Court Action
   •   Order the lower court to:
          o   Resolve all pending motions within 10 days.
          o   Require respondents to answer the Petition within 14 days.
          o   Render a decision on the merits of the Petition within 30 days.
4. Transfer to the Eastern District of Pennsylvania
   •   Transfer the case to the Eastern District of Pennsylvania to consolidate
       Appellant’s related § 1983 case, ensuring a coordinated review of
       constitutional claims.
5. Reassignment to an Impartial Judge


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  •   Reassign the case to an impartial district court judge to prevent further
      procedural bias and hostility and ensure fair adjudication.
6. Supervisory Instructions for the Lower Court
  •   Issue clear supervisory instructions for the lower court to:
         o   Adhere strictly to FRCP requirements for resolving jurisdictional
             issues before proceeding.
         o   Apply the well-pleaded complaint rule rigorously under FRCP
             12(b)(6).
         o   Protect pro se litigants’ rights under Haines v. Kerner and ensure
             procedural fairness.
         o   Provide findings of fact and conclusions of law for all future adverse
             rulings.
7. Judicial Ethics and Accountability Review
  •   Refer Judges Carlson and Wilson for investigation under 28 U.S.C. § 351
      based on:
         o   Systemic procedural abuses.
         o   Bias against a pro se litigant.
         o   Failure to meet judicial obligations under Canons 2 and 3 of the Code
             of Conduct for United States Judges.
8. Transparency in Future Proceedings
  •   Direct the lower court to issue findings of fact and conclusions of law for all
      rulings to ensure transparency and compliance with due process.
9. Compensatory Relief for Procedural Misconduct
  •   Award compensatory damages to Appellant for harms caused by the district
      court’s misconduct, including:
         o   Litigation costs incurred due to ultra vires rulings.
         o   Delays and prejudice resulting from procedural obfuscation.
         o   Expenses caused by the improper setting aside of default and the
             abstention ruling.
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10. Retention of Appellate Oversight
   •   Retain appellate jurisdiction to:
          o   Monitor compliance with these directives.
          o   Ensure timely and proper adjudication of Appellant’s constitutional
              claims.




                              XII. CONCLUSION

The district court’s actions in this case represent a series of fundamental errors that

demand appellate correction. Specifically, the district court violated critical

procedural rules and judicial standards in the following ways:

   1. JURISDICTIONAL MISCONDUCT:

       The court’s prolonged exercise of jurisdiction, followed by an abrupt

       invocation of abstention and the sustaining of a 12(b)(1) motion, created a

       jurisdictional paradox, rendering its orders void. As established in Steel Co.

       and Ex parte McCardle, jurisdiction must be resolved before any substantive

       action is taken, and actions taken without jurisdiction are legally void. This

       Court must enforce the principle that jurisdictional issues be resolved

       promptly, as jurisdiction is a threshold matter that must be settled before any

       substantive legal determinations are made.


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2. FAILURE TO ADJUDICATE A WELL-PLEADED COMPLAINT:

  The district court improperly dismissed Appellant’s well-pleaded complaint

  under FRCP 12(b)(6), failing to apply the correct legal standard and

  disregarding the deference owed to pro se litigants under Haines v. Kerner.

  The court’s failure to apply this standard prematurely dismissed Appellant’s

  meritorious constitutional claims. This Court must hold the district court

  accountable for applying the well-pleaded complaint rule, ensuring that the

  leniency owed to pro se litigants is properly applied in the context of

  dismissals under Rule 12(b)(6).

3. PROCEDURAL ABUSES:

  The district court engaged in procedural abuses by selectively applying

  procedural rules, including improperly setting aside OOR’s default without

  showing “good cause,” denying Appellant’s motions without explanation,

  and improperly raising venue issues sua sponte. These actions resulted in an

  unjustified procedural disadvantage for Appellant and violated the integrity

  of the Federal Rules of Civil Procedure. This Court must mandate that all

  procedural decisions adhere to the strict requirements of the FRCP,

  particularly with respect to the setting aside of defaults and the handling of

  venue issues.



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4. SYSTEMIC BIAS AND HOSTILITY:

  The district court’s unbroken 18-0 record of rulings in favor of government

  respondents demonstrates systemic bias and judicial hostility. This pattern of

  decisions undermines the impartiality required of judges and erodes public

  confidence in the fairness of the judicial process, as required by judicial

  conduct rules and established case law. This Court is urged to apply the

  principles of impartiality and fairness under Canons 2 and 3, ensuring that

  any appearance of bias, particularly in cases involving pro se litigants, is

  rigorously addressed and corrected.

5. PROCEDURAL OBFUSCATION AND JUDICIAL HOSTILITY:

  The district court’s consistent delays, selective enforcement of procedural

  rules, and pretextual invocation of abstention doctrines created a procedural

  fog that shielded respondents from accountability. This pattern of behavior,

  along with the district court’s hostile treatment of Appellant, reveals a clear

  violation of principles of judicial impartiality and fairness. This Court must

  intervene to prevent the continuation of such procedural obfuscation,

  ensuring that the case is adjudicated in accordance with established

  standards of transparency, fairness, and timeliness.

6. JUDICIAL IMMUNITY AND ACCOUNTABILITY:

  The actions of Judges Carlson and Wilson were ultra vires, taken without
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      jurisdiction and in violation of Appellant’s constitutional rights. These

      actions strip them of judicial immunity, and they must be held personally

      accountable for the harm caused by their misconduct. This Court must apply

      the standard set forth in Stump v. Sparkman and Scheuer v. Rhodes, ensuring

      that judges acting beyond their jurisdiction are held accountable, and their

      actions rendered void.

      Based on these substantial and clear legal errors, Appellant respectfully

requests the following relief:

   1. Vacatur of Void and Procedurally Flawed Orders:

      Vacate all orders issued by the district court, including the 12(b)(1)

      dismissal, abstention ruling, setting aside of OOR’s default, and denial of

      Appellant’s procedural motions. This Court must ensure that all actions

      taken without proper jurisdiction are nullified, including any procedural

      rulings made without due process.

   2. Reinstatement of Petition:

      Reinstate Appellant’s Petition, with acknowledgment that OOR remains in

      default, and require respondents to answer the Petition’s well-pleaded

      claims. This Court must ensure that the Petition is adjudicated on its merits,

      in accordance with the standards for procedural fairness and the deference

      due to pro se litigants.
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3. Reversal and Remand with Instructions:

  Reverse all adverse rulings and remand the case for adjudication on the

  merits under the supervision of an impartial judge, with clear instructions to

  resolve jurisdiction promptly and apply procedural fairness. This Court must

  issue clear guidance to the district court to prevent any further violations of

  procedural fairness, ensuring that all future rulings are made in a timely and

  impartial manner.

4. Judicial Ethics Review:

  Refer Judges Carlson and Wilson for a judicial ethics review under 28

  U.S.C. § 351 to investigate systemic bias, procedural misconduct, and failure

  to uphold the principles of impartiality and fairness. This Court must ensure

  that appropriate ethical review is conducted to restore integrity to the judicial

  process.

5. Supervisory Oversight:

  Issue supervisory guidance to ensure that jurisdictional issues are resolved

  before any substantive or procedural actions are taken, and to ensure that pro

  se litigants are afforded the necessary leniency and procedural protections.

  This Court must ensure that judicial conduct is consistent with the high

  standards of fairness, impartiality, and due process as required by the

  Constitution.
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   6. Compensatory Damages:

      Award compensatory damages for harm caused by ultra vires actions,

      judicial misconduct, and procedural delays, including litigation costs and

      fees. This Court must provide compensation to Appellant for the harm

      caused by the district court’s violations of procedural and constitutional

      rights.

      Appellant’s right to a fair and just hearing has been violated at every stage,

and the appellate court must intervene to correct these errors. The relief sought is

necessary to restore the integrity of the judicial process and ensure that Appellant’s

constitutional rights are properly adjudicated.




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  XIII. APPENDIX A: SCORECARD OF JUDICIAL DECISIONS

         This appendix presents the list of substantive judicial decisions in the case,

with the checkbox representing which party the decision favored. The 18-0 record

highlights systemic bias in the district court’s handling of the case. The following

table reflects how procedural and substantive decisions were consistently adverse

to Appellant’s rights.



SCORECARD OF JUDICIAL DECISIONS - PRO SE PETITIONER v. GOVERNMENT RESPONDENTS

 Decision #     Doc #                    Description of Judge's Decision                    Favored Government     Favored
                                                                                                Respondent     Pro Se Petitioner
     1             8     County's Motion to Dismiss (12(b)(1) and 12(b)(6))                         "
     2            10     OOR's Motion for Extension to Respond                                      "
     3            37     Carlson's Recommendation to Set Aside Default                              "
     4            34     Granting of OOR's Motion for Extension to Respond                          "
     5            29     Petitioner's Motion to Strike DENIED                                       "
     6            55     Court Order Affirming Carlson's Recommendations                            "
     7            55     Judge Wilson denies de novo review of Pro Se objections (1)                "
     8            59     Carlson Recommends Dismissal and Transfer of Venue                         "
     9            53     Denial to Rule on (Cross) Motion for Sanctions                             "
    10        39, 44, 63 Repeated refusal to rule on Petitioner's motions regarding 12(b)           "
    11            20     Petitioner's Motion for Default Judgment DENIED                            "
    12            46     Petitioner's Motion for Hearing on OOR's Default per Rule 55               "
    13            45     Petitioner's Motion for a LR 16.4 Conference DENIED                        "
    14            64     Judge Wilson denies de novo review of Pro Se objections (2)                "
    15            64     Judge Wilson Orders Abstention Jurisdiction                                "
    16            64     Judge Wilson Grants 12(b)(6)                                               "
    17            64     Judge Wilson Grants 12(b)(1)                                               "
    18            64     Judge Wilson Orders Transfer of Venue to 'Surviving Claims'                "

Total Decisions Favoring 'Team Government': 18
Total Decisions Favoring Petitioner: 0




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              XIV. CERTIFICATE OF COMPLIANCE

1. Word Count Compliance

  This document complies with the type-volume limitation of Federal Rule of

  Appellate Procedure 32(a)(7)(B) and Local Appellate Rule 32.1(c).

2. Typeface and Font Compliance

  This document complies with the typeface and type-style requirements of

  Federal Rule of Appellate Procedure 32(a)(5) and (6).

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        Case: 24-2934     Document: 18     Page: 62    Date Filed: 11/18/2024




                    XVI. CERTIFICATE OF SERVICE

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EXHIBIT F
        Case: 24-2934    Document: 20-1     Page: 1     Date Filed: 12/05/2024




                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT

MICHAEL MILLER
Appellant,

v.
                                            No: 24-2934

COUNTY OF LANCASTER, ET. AL.,
Appellees.


      BRIEF IN SUPPORT OF APPELLANT’S MOTION TO REMEDY
     PROCEDURAL IRREGULARITIES, PROTECT CONSTITUTIONAL
            CLAIMS, AND COMPEL JUDICIAL OVERSIGHT


I. INTRODUCTION

This appeal raises significant constitutional issues regarding the First and

Fourteenth Amendments, including a direct challenge to Pennsylvania’s public

records law. The procedural irregularities and delays perpetuated by the Clerk’s

October 29, 2024, directive and the Court’s subsequent inaction have jeopardized

Appellant’s ability to receive a fair and timely adjudication. This brief supports

Appellant’s motion for judicial intervention to restore procedural integrity, provide

meaningful oversight, and prevent further obstruction and delay.




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II. STATEMENT OF THE CASE

On October 14, 2024, Appellant filed a Notice of Appeal in this matter. On

October 29, 2024, the Clerk issued a directive staying the briefing schedule and

listing the appeal for summary disposition without judicial authorization, in

violation of Local Rule 27(a). Despite Appellant’s timely objections and motions,

the Court has not acted for over 30 days. This inaction undermines procedural

fairness, disproportionately prejudices a pro se litigant, and compromises the

resolution of important constitutional claims.




III. LEGAL STANDARD

   1. Mandamus Authority: The All Writs Act, 28 U.S.C. § 1651, empowers the

      Court to issue all writs necessary to ensure the proper administration of

      justice. Mandamus relief is warranted when:

         o   The petitioner has a clear and indisputable right to relief.

         o   The respondent has a clear duty to act.

         o   There is no adequate alternative remedy.




                                                                                    2 of 15
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   2. Judicial Oversight: FRAP 27(b) requires prompt judicial action on motions.

      Local Rule 27(a) limits the Clerk’s authority to procedural matters, requiring

      judicial review for substantive decisions. The Court must act to correct any

      overreach that impacts the administration of justice.

   3. Special Protections for Pro Se Litigants: Haines v. Kerner, 404 U.S. 519

      (1972), establishes that courts must liberally construe pro se filings and

      ensure procedural fairness.

   4. Constitutional Claims: Cases such as Ex Parte Young, 209 U.S. 123

      (1908), and Zwickler v. Koota, 389 U.S. 241 (1967), affirm the judiciary’s

      obligation to address constitutional challenges without delay or obstruction.




IV. ARGUMENT

A. Procedural Irregularities Have Compromised Appellant’s Appeal

As explained in Appellant’s filings, the Clerk’s October 29 directive, Doc. 11-1,

exceeded her authority under Local Rule 27(a), which confines the Clerk’s role to

procedural matters. (Doc. 13,14) By staying the briefing schedule and listing the

case for summary disposition, the Clerk effectively made adjudicative decisions

without judicial authorization. This overreach necessitates judicial intervention to

restore procedural integrity.



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B. The Court’s Inaction Violates FRAP 27(b) and Canon 3

The Court’s failure to address Appellant’s motions for over 30 days violates FRAP

27(b), which mandates prompt judicial action. (Doc. 13,14,15,16) Canon 3(A)(5)

of the Code of Conduct for United States Judges requires judges to dispose of the

court’s business diligently. Delays in addressing motions for judicial review

obstruct Appellant’s ability to obtain a timely resolution of constitutional claims.

C. Mandamus Relief is Warranted to Protect Appellant’s Constitutional

Rights

Appellant has a clear and indisputable right to have constitutional claims

adjudicated on the merits without procedural obstruction. The Court has a clear

duty to rectify procedural errors and ensure compliance with the Federal Rules of

Appellate Procedure. Mandamus relief is appropriate under 28 U.S.C. § 1651 to

compel judicial oversight, restore procedural order, and protect Appellant’s

constitutional rights.

D. The Judiciary Has a Duty to Prevent Structural and Reversible Errors

The procedural deficiencies in this case—particularly the denial of notice, hearing,

judicial review, and irregular exercise of jurisdiction—constitute structural errors

that are reversible per se. The Court must intervene to prevent further violations

and uphold its duty to protect the effective administration of justice.




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V. RELIEF REQUESTED

Appellant respectfully requests that the Court:

   1. Vacate the Clerk’s October 29, 2024, directive as unauthorized under Local

      Rule 27(a).

   2. Order prompt judicial action on all pending motions and objections, with

      clear deadlines to ensure compliance with Rule 27(b).

   3. Confirm Appellant’s constitutional right to challenge Pennsylvania’s public

      records law and County policy under the First and Fourteenth Amendments.

   4. Establish procedural safeguards to prevent similar delays and irregularities

      in future cases.




VI. CONCLUSION

The Court’s handling of this appeal over the past 12 months raises serious concerns

about the preservation of long-standing constitutional principles. The delays,

procedural irregularities, and lack of substantive engagement with Appellant’s

claims threaten to erode the integrity of judicial oversight, the accessibility of

justice for pro se litigants, and the protection of fundamental constitutional rights.



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If such actions represent the current state of the law, it marks a departure from

well-established precedents, including Ex Parte Young, Steffel v. Thompson, 415

U.S. 452 (1974), Zwickler v. Koota, and Haines v. Kerner. This matter presents an

opportunity for the Court to reaffirm its commitment to procedural fairness, timely

justice, and the safeguarding of constitutional rights, as required under both

precedent and statutory law.



                                                              Respectfully submitted,

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Dated: December 5, 2024




                                                                                         6 of 15
        Case: 24-2934    Document: 20-1     Page: 7    Date Filed: 12/05/2024




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                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT

MICHAEL MILLER
Appellant,

v.
                                           No: 24-2934


COUNTY OF LANCASTER, ET. AL.,
Appellees.

APPELLANT’S MOTION FOR JUDICIAL INTERVENTION TO REMEDY
     PROCEDURAL IRREGULARITIES AND ENSURE TIMELY
                     ADJUDICATION


I. INTRODUCTION

Appellant Michael Miller moves this Court pursuant to Federal Rule of Appellate

Procedure 27 for judicial intervention to address systemic procedural irregularities,

enforce procedural fairness, and ensure the timely adjudication of Appellant's

constitutional claims. These irregularities include unauthorized actions by the

Clerk of Court under Local Rule 27, the Court's failure to act on pending

objections and motions for over 30 days, and continued procedural obstruction and

delays undermining the integrity of this appeal.

This motion raises not only immediate concerns regarding Appellant’s rights but

also broader issues of judicial accountability. Granting this motion will reaffirm


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the judiciary’s constitutional obligation to protect the rights of pro se litigants and

ensure the timely resolution of substantial constitutional claims.




II. RELIEF REQUESTED

Appellant moves the Court take the following actions to address the procedural

irregularities in this appeal:

   1. Vacate Unauthorized Directive:

       Retract the Clerk’s October 29, 2024 directive staying the briefing schedule

       and listing the case for summary disposition, as it violated Local Rule 27(a).

   2. Judicial Oversight:

       Assign judicial review of all pending motions and objections filed by

       Appellant, ensuring compliance with FRAP 27(b) and the judiciary’s ethical

       duties under Canon 3(A)(5).

   3. Set Deadlines:

       Establish enforceable deadlines for the Court to act on all unresolved

       motions and objections to prevent further procedural delay and harm to

       Appellant’s constitutional rights.

   4. Supervisory Mandamus:

       Exercise supervisory mandamus under 28 U.S.C. § 1651 to ensure


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       compliance with applicable procedural rules, including FRAP 27(b) and 28

       U.S.C. § 636(b)(1).




III.   LEGAL BASIS FOR RELIEF

   1. Violation of Local Rule 27(a):

       The Clerk's directive materially altered the procedural progression of this

       case without judicial authorization, exceeding the authority granted under

       Local Rule 27(a). Such an act constitutes a judicial function and must be

       treated as such under applicable law.

   2. Failure to Adhere to FRAP 27(b):

       FRAP 27(b) mandates prompt judicial action on procedural motions. The

       Court’s failure to act on Appellant’s pending motions for over 30 days

       violates this rule and undermines Appellant’s right to a fair and orderly

       appeal process.

   3. Constitutional Implications:

       The delays and irregularities in this appeal obstruct Appellant’s right to due

       process under the Fifth and Fourteenth Amendments. The Supreme Court in

       Zwickler v. Koota, 389 U.S. 241 (1967), and Steffel v. Thompson, 415 U.S.




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      452 (1974), has emphasized the judiciary’s obligation to resolve

      constitutional claims on their merits rather than through procedural evasion.

   4. Special Protections for Pro Se Litigants:

      Citing Haines v. Kerner, 404 U.S. 519 (1972), Appellant highlights the

      heightened duty of courts to ensure procedural fairness for pro se litigants.

      Procedural delays and unauthorized actions disproportionately harm pro se

      petitioners and erode public confidence in the judiciary.

   5. Supervisory Mandamus Authority:

      Under 28 U.S.C. § 1651, this Court has the authority to issue supervisory

      mandamus to enforce procedural compliance and protect Appellant’s rights.

      Mandamus is appropriate here to prevent further harm caused by delays and

      irregularities that obstruct Appellant’s access to justice.




IV.   CONCLUSION

The procedural irregularities in this case, combined with the Court’s prolonged

inaction, threaten Appellant’s ability to secure a fair and timely adjudication of

substantial constitutional claims. Appellant respectfully requests that this Court

grant this motion, vacate the Clerk’s directive, assign judicial oversight to all




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pending motions and objections, and establish enforceable deadlines to ensure

compliance with procedural and constitutional requirements.

If this Court’s current approach is consistent with binding law, then precedents

such as Zwickler v. Koota and Haines v. Kerner are effectively abandoned.

Granting this motion will reaffirm the judiciary’s role in safeguarding

constitutional rights and ensure procedural integrity in this landmark case.




Certification Regarding Concurrence

Appellant notes that concurrence of the opposing party has not been sought. This

motion seeks relief of a procedural nature directed to the Court and does not

pertain to substantive disputes between the parties. Appellant believes that seeking

concurrence under these circumstances is unnecessary and impractical.

                                                              Respectfully submitted,

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Dated: December 5, 2024




                                                                                         12 of 15
         Case: 24-2934    Document: 20-2    Page: 6    Date Filed: 12/05/2024




                 IN THE UNITED STATES COURT OF APPEALS
                          FOR THE THIRD CIRCUIT

MICHAEL MILLER
Appellant,

v.
                                            No: 24-2934


COUNTY OF LANCASTER, ET. AL.,
Appellees.

                               PROPOSED ORDER


ORDER

AND NOW, this ___ day of ________, 2024, upon consideration of Appellant’s

Motion to Remedy Procedural Irregularities, Protect Constitutional Claims, and

Compel Judicial Oversight, it is hereby ORDERED:

     1. The Clerk’s October 29, 2024, directive is VACATED as exceeding

        administrative authority under Local Rule 27(a).

     2. The Court shall adjudicate all pending motions and objections no later than

        ___________, 2024.




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   3. Appellant’s constitutional right to challenge Pennsylvania’s public records

      law and County policy under the First and Fourteenth Amendments is

      recognized and affirmed.

   4. Procedural safeguards are directed to ensure future compliance with FRAP

      27(b) and Local Rule 27(a).

BY THE COURT:




Circuit Judge, Third Circuit Court of Appeals




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                         CERTIFICATE OF SERVICE

I hereby certify that I caused to be served by e-mail a true and correct copy of the

foregoing document to the following:



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                                                                                       15 of 15
EXHIBIT G
       Case 5:24-cv-05338-JFL Document 4 Filed 10/12/24 Page 1 of 84




IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT
                      OF PENNSYLVANIA
 Michael Miller,
      Plaintiff,
 v.

County of Lancaster,
Tammy Bender,
                                      Civ. No: 5:24-cv-05338-JFL
Jacqueline Pfursich,
Joshua Parsons,
Ray D’Agostino,
Christa Miller,

      Defendants.


 FIRST AMENDED COMPLAINT FOR DECLARATORY, INJUNCTIVE,

                       AND MONETARY RELIEF
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                                 I.    INTRODUCTION


Plaintiff, a candidate in an election marred by mismanagement, seeks justice for Defendants’

illegal actions that compromised voting integrity. When 14,000 of 22,000 absentee ballots were

misprinted, instead of issuing new ballots as required by federal law, Defendants filled out and

cast replacement ballots themselves—outside of voter oversight.


After the election, Plaintiff legally requested copies of these ballots to verify the results and

inform the public. Despite the Pennsylvania Office of Open Records granting this request on

October 5, 2022, Defendants have denied access for over two and a half years, using newly

created regulations to justify their refusal.


Defendants' continued obstruction has caused Plaintiff significant and irreparable harm. He

seeks relief under 42 U.S.C. § 1983 for deprivations of his rights.




              II.    GENERAL COLOR OF LAW STATEMENT

All actions alleged herein were taken by Defendants under color of state law in their respective

capacities as officers, employees, or agents of County of Lancaster. Each Defendant’s conduct

constitutes state action and is actionable under 42 U.S.C. § 1983 for violating Plaintiff’s

constitutional rights.




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                         III.   SUMMARY OF CLAIMS

Count                           Defendants                  Key Issues

I: Prior Restraint              County, Bender, Pfursich,   Restricted access to election
                                Parsons, D’Agostino, C.     records, suppressing political
                                Miller                      advocacy
II: Retaliation                 County, Bender, Pfursich,   Retaliation for exercising
                                Parsons, D’Agostino, C.     First Amendment rights (e.g.,
                                Miller                      sanctions motion)
III: Right to Petition          County, Bender, Pfursich,   Obstructed Plaintiff’s right to
                                Parsons, D’Agostino, C.     file HAVA complaints and
                                Miller                      petitions
IV: Procedural Due Process      County, Bender, Pfursich,   Denial of fair procedures and
                                Parsons, D’Agostino, C.     legal process
                                Miller
V: Equal Protection             County, Bender, Pfursich,   Unequal access to public
(Disparate Access to Election   Parsons, D’Agostino, C.     election records
Records)                        Miller
VI: Equal Protection            County, Bender, Pfursich,   Unequal treatment of RTKL
(Unequal Treatment Under        Parsons, D’Agostino         requests and judicial review
RTKL)
VII: PA Constitution – Free     County, Bender, Pfursich,   Suppressed free speech and
Speech & Petition               Parsons, D’Agostino, C.     petition rights under PA
                                Miller                      Constitution
VIII: PA Constitution – Free    County, Bender, Pfursich,   Violated Plaintiff’s right to a
and Fair Election               Parsons, D’Agostino, C.     free and fair election
                                Miller
IX: Conspiracy                  County, Bender, Pfursich,   Conspired to deprive Plaintiff
                                Parsons, D’Agostino, C.     of constitutional rights
                                Miller
X: HAVA Violations              County, Bender, Pfursich,   Mishandled absentee ballots
                                Parsons, D’Agostino, C.     in violation of HAVA
                                Miller                      standards
XI: Monell Liability            County                      County’s policies and
                                                            customs led to violations of
                                                            constitutional rights
XII: Abuse of Process           County, Bender, Pfursich,   Misuse of legal process to
                                Parsons, D’Agostino, C.     delay, coerce, and obstruct
                                Miller                      Plaintiff’s rights

                                             2
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IX: Conspiracy (42 U.S.C. §     County, Bender, Pfursich,         Conspired to deprive Plaintiff
1983)                           Parsons, D’Agostino, C.           of constitutional rights
                                Miller




                                 IV.      PARTIES


  1. Plaintiff Michael Miller (“Plaintiff” or “Miller”) is a citizen of Pennsylvania and the

     United States, residing in Lancaster County, Pennsylvania.

  2. Defendant County of Lancaster (“County”) is a municipal entity organized under the laws

     of the Commonwealth of Pennsylvania. County oversees elections, including the

     processing and handling of absentee and mail-in ballots, and is responsible for the actions

     of its employees, officers, and agents.

  3. Defendant Tammy Bender (“Bender”) is a person who, at all relevant times, served as

     County’s Open Records Officer. Bender is sued in her individual and official capacities.

  4. Defendant Jacqueline Pfursich (“Pfursich”) is person who, at all relevant times, served as

     the Solicitor for County. Pfursich is sued in her individual and official capacities.

  5. Defendant Joshua Parsons (“Parsons”) is a person who, at all relevant times, served as

     County of Lancaster’s Commissioner and member its Board of Elections. Parsons is sued

     in his individual and official capacities.

  6. Defendant Ray D’Agostino (“D’Agostino”) is a person who, at all relevant times, served

     as County of Lancaster’s Commissioner and member its Board of Elections. D’Agostino

     is sued in his individual and official capacities.




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7. Defendant Christa Miller (“C. Miller”) is a person who, at all relevant times, served as

   the Chief Registrar and Director of Elections for County of Lancaster. C. Miller is sued in

   her individual and official capacities.




                   V.         JURISDICTION AND VENUE

1. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343(a) because

   Plaintiff’s claims arise under the Constitution and laws of the United States, specifically

   the First and Fourteenth Amendments and 42 U.S.C. § 1983.

2. The Court has authority to grant declaratory and injunctive relief under 28 U.S.C. §§

   2201 and 2202.

3. Plaintiff seeks relief under 42 U.S.C. §§ 1983 and 1988 for constitutional violations and

   under Monell v. Department of Social Services, 436 U.S. 658 (1978), for Defendants’

   policies, customs, and practices.

4. Plaintiff also brings claims under Article I, Sections 7 and 11 of the Pennsylvania

   Constitution, which protect his rights to free expression and due process.

5. This Court has supplemental jurisdiction over state law claims under 28 U.S.C. § 1367(a)

   because they form part of the same case or controversy as the federal claims.

6. Venue is proper in this District under 28 U.S.C. § 1391(b) because the events giving rise

   to Plaintiff’s claims occurred in Lancaster County, Pennsylvania, and all Defendants

   reside in this District.




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                        VI.    PROCEDURAL HISTORY

A. State Court Actions Involving Election Challenges

   1. On May 31, 2022, Plaintiff filed petitions in the Lancaster County Court of Common

      Pleas from approximately 120 voters in 40 precincts, demanding a hand count of the

      original voted ballots in his race.

   2. The president judge denied the request and dismissed the petitions.

   3. On October 27, 2022, Plaintiff filed a complaint against Defendants Parsons, D’Agostino,

      and C. Miller, alleging violations of the Help America Vote Act (HAVA) in the May 17,

      2022, election.

   4. During a January 9, 2023 hearing on the HAVA complaint, a poll watcher testified that

      she observed absentee ballots missing Plaintiff’s race.

   5. On January 23, 2023, acting Pa. Secretary of State, Al Schmidt, issued an order

      dismissing Plaintiff’s HAVA complaint.

B. Initial RTKL Request and OOR Determinations

   6. On June 7, 2022, Plaintiff submitted a RTKL request to the County of Lancaster, seeking

      copies of mail-in ballots and ballot envelopes for the 2022 primary election.

   7. On July 27, 2022, Plaintiff appealed the County’s denial of the records request to the

      Pennsylvania Office of Open Records (OOR).

   8. On October 5, 2022, the OOR issued a final determination substantially granting

      Plaintiff’s access to the requested records.

   9. On December 1, 2022, OOR appeal officer, Erin Burlew, issued a second final

      determination denying Plaintiff’s request for access to digital copies of the records.

C. State Court Actions Under the RTKL


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  10. On December 29, 2022, Plaintiff filed a petition in the Lancaster County Court of

     Common Pleas under Chapter 13 of the Pennsylvania RTKL and 210 Pa. R.A.P. 3761(b)

     to enforce the OOR’s final determination issued on October 5, 2022.

  11. Concurrently, Plaintiff filed a second petition in the Lancaster County Court of Common

     Pleas under Chapter 13 of the Pennsylvania RTKL and 210 Pa. R.A.P. 3761(b) appealing

     the OOR’s December 1, 2022, final determination denying the requested records in

     digital form.

  12. The Court of Common Pleas assigned the same judge to oversee both petitions.

  13. On May 8, 2023, Plaintiff filed a motion demanding a hearing on his petitions.

  14. On May 12, 2023, the judge denied Plaintiff’s request for a hearing and dismissed both

     petitions on the same day.

D. Commonwealth Court Appeals

  15. On June 5, 2023, Plaintiff filed a notice of appeal to the Commonwealth Court of

     Pennsylvania, seeking review of both dismissals.

  16. On August 7, 2023, after Plaintiff had appealed, the Lancaster County Court of Common

     Pleas judge, David Ashworth, acknowledged on record that 25 P.S. § 2648 does not grant

     Defendants the authority to withhold the records from Plaintiff.

  17. On July 31, 2024, the Commonwealth Court held that 25 P.S. § 2648 does not authorize

     officials, such as Defendants, to restrain the release of voted absentee ballots. Previte v.

     ERIE COUNTY BOARD OF ELECTIONS, No. 814 CD 2023 (Pa. Commw. Ct. July 31,

     2024)

  18. The Commonwealth Court has not scheduled a hearing or issued a ruling on Plaintiff’s

     appeal as of the date of this filing.


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       Plaintiff has never been granted a hearing on the merits of his claims by any court,

       despite multiple petitions and motions requesting such hearings.


E. Federal Declaratory Judgment Action

   •   On January 4, 2024, Plaintiff filed a petition for declaratory judgment and a constitutional

       challenge to Chapter 13 of the Pennsylvania Right-to-Know Law (RTKL) and 210 Pa.

       R.A.P. 3761(b) in the United States District Court for the Middle District of

       Pennsylvania.

   •   On February 1, 2024, Defendants filed a motion to dismiss under Rule 12(b)(1),

       challenging the court’s jurisdiction.

   •   On May 8, 2024, Defendants Parsons, D’Agostino, and Pfursich, in their individual and

       official capacities, filed a motion for sanctions against Plaintiff, seeking $30,000 because

       he would not withdraw his lawsuit by May 7, 2024.

   •   The court did not dispose of the 12(b)(1) objection until September 30, 2024.

   •   On September 30, 2024, the Middle District Court dismissed Plaintiff’s petition for

       discretionary decline of jurisdiction, and Plaintiff intends to file a notice of appeal to the

       Third Circuit Court of Appeals.




                          VII.    TOLLING ARGUMENT

   1. Plaintiff’s Claims Are Preserved Due to Ongoing Litigation and Delays.

       Plaintiff’s claims are timely due to the ongoing nature of Defendants’ conduct and the

       procedural delays caused by protracted litigation history, as detailed in the Procedural

       History Section.

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2. Federal Declaratory Judgment Action Delayed Plaintiff’s Ability to Pursue § 1983

   Claims.

   Plaintiff filed a federal declaratory judgment action on January 4, 2024, to address the

   same issues that are the basis of this action. The Middle District Court failed to adjudicate

   the case for nearly ten months, delaying Plaintiff’s ability to pursue alternative remedies,

   until the action was dismissed on September 30, 2024. This extended period prevented

   Plaintiff from asserting his constitutional claims under § 1983 within the original

   statutory period.

3. Pending State Court Appeal Necessitates Tolling.

   Plaintiff’s appeal to the Commonwealth Court, filed on June 5, 2023, has remained

   unresolved, with no hearing or ruling issued as of the date of this filing. The ongoing

   nature of the appeal, along with the state court’s reliance on a statute that has since been

   held not to apply (Previte v. Erie County Board of Elections, No. 814 CD 2023), supports

   the need for equitable tolling of the statute of limitations.

4. Equitable Tolling Is Appropriate Due to Defendants’ Deliberate Conduct and Court

   Delays.

   Defendants’ pretextual reliance on 25 P.S. § 2648 and their continued obstruction through

   arbitrary restrictions created a situation where Plaintiff was unable to seek adequate

   judicial relief. Despite filing multiple petitions and motions, Plaintiff was never granted a

   judicial hearing on the merits of his claims. In such circumstances, equitable tolling is

   appropriate because Defendants’ conduct, combined with the protracted and overlapping

   court delays, effectively prevented Plaintiff from asserting his rights.

5. Related Federal Action Supports Tolling Based on Good Faith Pursuit of Relief.


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   Plaintiff’s federal declaratory judgment action, along with the pending appeal to the

   Third Circuit, represents a good faith effort to resolve these matters. The ongoing

   litigation in both state and federal courts has tolled the limitations period, preserving

   Plaintiff’s claims.




                 VIII.     NOTICE TO DEFENDANTS

Plaintiff hereby gives notice to Defendants that failure to directly respond to the Factual

Allegations Section in this Complaint, or failure to specifically deny such allegations, will

result in Plaintiff moving for summary judgment under Federal Rule of Civil Procedure 56.

Under Federal Rule of Civil Procedure 8(b)(6), any allegation not properly denied or

responded to shall be deemed admitted.




                   IX.     FACTUAL ALLEGATIONS


1. On May 17, 2022, Miller contested for Pennsylvania State Senate District 36 in an

   election held in Lancaster County, Pennsylvania.

2. Parsons, D’Agostino, and C. Miller, in their official capacities, reported that

   approximately 22,000 voted mail-in ballots were received countywide for the May 17,

   2022, primary election.




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3. On May 17th, Parsons, D’Agostino and C. Miller, acting in their official capacities, were

   responsible for causing to be printed 14,000 voted mail-in ballots that could not be

   counted by Hart Intercivic’s election software.

4. On May 17, 2022, Parsons, D’Agostino and C. Miller, acting in their official and

   individual capacities, were responsible for sending voters ballots that in error did not

   include Plaintiff’s race on the ballot.

5. On May 17, 2022, Parsons, D’Agostino, C. Miller, and Pfursich, in their official and

   individual capacities, directed County employees to replace approximately 14,000

   absentee ballots to replace the marked ballots that could not be read by Hart Intercivic’s

   software. (See Exhibit 01).

6. On May 17, 2022, observers of the replacement of ballots reported to Defendants

   Parsons, D’Agostino, and C. Miller that some original ballots were missing Plaintiff’s

   race.

7. On May 17, 2022, Parsons, D’Agostino, and C. Miller did not permit voters who were

   sent an error ballot to complete a replacement ballot.

8. On May 18, 2022, C. Miller caused to be ordered 4,100 replacement ballots from

   Brenneman Printing to be marked, scanned, and counted by Hart Intercivic software.

   There were approximately this number of mail-in ballots counted in Plaintiff’s election.

9. On May 18, 2022, Parsons, D’Agostino, and C. Miller failed to provide Plaintiff with

   notice about all the errors in the original ballots before completing the re-marking

   process.




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10. 25 P.S. § 3150.17 states: “All official mail-in ballots, files, applications for ballots and

   envelopes on which the executed declarations appear and all information and lists are

   designated and declared to be public records.”

11. On May 31, 2022, approximately 120 voters in 40 precincts filed petitions in the

   Lancaster County Court of Common Pleas demanding a hand count of Miller’s election

   on grounds they had information that the reported count was in error. The Court denied

   the petitions and a hand count.

12. Plaintiff has a protected interest in acquiring public records he was granted and pursuant

   to 25 P.S. § 3150.17, which designates the records as public records (not County

   records).

13. On June 7, 2022, Plaintiff filed a request under the Right-to-Know Law (RTKL) to

   inspect and copy mail-in ballots and ballot envelopes used in the May 17, 2022, election

   (OOR Dkt. 2022-1749).

14. Bender is County’s designated open records officer.

15. On June 15, 2022, Bender, acting in her official capacity as the Open Records Officer,

   invoked a 30-day extension to respond to Miller’s request (OOR Dkt. 2022-1749).

16. On July 15, 2022, Bender, in her official and individual capacity, denied Miller’s request,

   citing 25 P.S. § 2648 of the Election Code as the basis for exemption, asserting that the

   requested records were not subject to public access under the Election Code (OOR Dkt.

   2022-1749).

17. On July 15, Pfursich, County’s solicitor, acted in her individual capacity as County’s

   open records officer in denying Plaintiff the records.




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18. The text of 25 P.S. § 2648 does not state that county boards are authorized to establish

   ‘regulations for the safekeeping of records.’

19. Pfursich is not County’s designated records officer.

20. On July 19, 2022, Plaintiff filed a separate request for the Cast Vote Records (CVRs) for

   the May 17, 2022, election (OOR Dkt. 2022-1831).

21. Bender, in her official and individual capacity, denied this request at the direction of

   Pfursich.

22. On July 27, 2022, Plaintiff appealed County's denial of mail-in ballots to the Office of

   Open Records (OOR) (OOR Dkt. 2022-1749).

23. On August 8, 2022, C. Miller emailed Pfursich a letter from Jessica Mathis, Director of

   Bureau of Elections and Notaries at the Pennsylvania Department of State. Mathis’ letter

   was addressed to "County Election Officials," advising them to not release mail-in ballots

   to requestors under the RTKL.

24. On August 17, 2022, Bender, in her official and individual capacity, submitted an email

   to the OOR’s appeals officer, attaching a letter written by Pfursich in her individual

   capacity, opposing Miller’s appeal and asserting that the requested ballots were not

   public records (OOR Dkt. 2022-1749).

25. On August 17, 2022, Pfursich, in her individual capacity, directed Bender to send Mathis’

   letter to the OOR appeal officer in attempt to influence her denial of the Plaintiff’s

   request. (OOR Dkt. 2022-1749).

26. On August 26, 2022, the OOR appeal officer denied Plaintiff’s request for cast vote

   records, asserting that C. Miller’s argument was conclusive that these records were not

   public records under 25 P.S. 2648. (OOR Dkt. 2022-1831).


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27. On August 28, 2022, Plaintiff appealed the denial of the Cast Vote Records to the OOR

   (Request: 2022-1831).

28. Pfursich, in her individual capacity, wrote letters to the OOR appeal officer using

   Bender’s official email in Miller’s appeal. (OOR Dkt. 2022-1831)

29. Pfursich, in her individual capacity, sent the OOR appeal officer documents she

   purported to be ‘affidavits’ by C. Miller, written in her individual capacity, attempting to

   influence the appeal officer to deny Plaintiff the records. (OOR Dkt. 2022-1831)

30. OOR denied the records on grounds that C. Miller’s statements were competent evidence.

31. On October 5, 2022, the OOR issued a final determination ordering County and Bender,

   in her official capacity, to release the mail-in ballots and envelopes under specific

   conditions (OOR Dkt. 2022-1749). (See Exhibit 09)

32. Plaintiff secured a legally protected property interest in the requested records pursuant to

   the Right-to-Know Law (RTKL) through the OOR’s final determination on October 5,

   2022.

33. Plaintiff has a constitutionally protected liberty interest in accessing these records

   because their availability is essential for his political speech, public advocacy, and

   meaningful participation in public oversight of election processes.

34. On October 5, 2022, Bender and Pfursich, in their official and individual capacities,

   issued a letter to Miller imposing additional restrictions not mentioned in the OOR order,

   such as limiting inspection to supervised review by a sheriff’s deputy and prohibiting

   photo or video recording, effectively preventing meaningful inspection and copying

   (OOR Dkt. 2022-1749). (See Exhibit 02)




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35. On October 12, 2022, Parsons, D'Agostino, and Pfursich, in their official capacity, held a

   board meeting. (See Exhibit 03)

36. At this meeting, Parsons, D’Agostino, and Pfursich declared the restrictions on Plaintiff

   to be County’s policy, citing it was installed after the November 2020 general election.

   (OOR Dkt. 2022-1749).

37. On October 12, 2022, Parsons, D'Agostino, and Pfursich, in their official and individual

   capacities, declared that the Board had created regulations pursuant to 25 P.S. 2648.

38. 25 P.S. 2648 states: “Section 2648 - Records and documents to be open to public

   inspection; proviso The records of each county board of elections, general and duplicate

   returns, tally papers, affidavits of voters and others, nomination petitions, certificates

   and papers, other petitions, appeals, witness lists, accounts, contracts, reports and other

   documents and records in its custody, except the contents of ballot boxes and voting

   machines and records of assisted voters, shall be open to public inspection, except as

   herein provided, and may be inspected and copied by any qualified elector of the county

   during ordinary business hours, at any time when they are not necessarily being used by

   the board, or its employees having duties to perform thereto.”

39. 25 P.S. § 2648 was enacted over 100 years ago and does not mention absentee ballots,

   mail-in ballots, or any other modern ballot records that are not “contents of a ballot box.”

   The statute must be strictly construed.

40. Because 25 P.S. § 2648 does not address absentee ballots or digital ballot images, it may

   not serve as the basis for Defendants’ restrictions preventing Plaintiff from copying,

   photographing, and inspecting the records.




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41. On October 5, 2022, Bender and Pfursich, in their individual and official capacities,

   issued a policy prohibiting Plaintiff from copying or photographing the granted records.

   These restrictions deprived Plaintiff of his right to obtain the granted records. (See

   Exhibit 02)

42. On October 14, 2022, Plaintiff emailed C. Miller and Pfursich, in their official capacities,

   asserting his right to obtain the records (OOR Dkt. 2022-1749).

43. On October 14, 2022, Pfursich, in her official and individual capacity, responded by

   email, stating that County would not alter its policy (OOR Dkt. 2022-1749).

44. On October 21, 2022, Plaintiff emailed Bender and the OOR’s appeals officer, advising

   them of County’s response and requesting OOR intervention to clarify his rights under

   the final determination (OOR Dkt. 2022-1749).

45. On October 24, 2022, Kyle Applegate, OOR’s Chief Counsel, answered Plaintiff that the

   OOR’s jurisdiction ended with the issuance of the final determination and advising Miller

   to seek enforcement through filing a mandamus action (OOR Dkt. 2022-1749).

46. On October 26, 2022, Miller filed a request for digital images of mail-in ballots from the

   May 17, 2022, election in County’s custody (OOR Dkt. 2022-2536).

47. On November 2, 2022, Bender and Pfursich, in their official and individual capacities,

   denied the request for digital images, asserting that the records did not exist in the

   requested format pursuant to 65 P.S. § 67.705, without addressing whether the records

   could be provided in an alternative format (OOR Dkt. 2022-2536).

48. On November 17, 2022, Bender and Pfursich, in their official and individual capacities,

   submitted statements to the OOR appeals officer alleged to be copies of affidavits by C.




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   Miller. Plaintiff objected to these statements as unauthenticated, hearsay, and lacking

   foundation (OOR Dkt. 2022-2536). (See Exhibit 04)

49. On November 29, 2022, Bender and Pfursich, acting in both their individual and official

   capacities, submitted an additional purported affidavit from C. Miller, reiterating that the

   digital images of the 36,000 mail ballot images she caused to be placed into Hart

   Intercivic’s election software in May 2022 were not retained by County. (OOR Dkt.

   2022-2536).

50. On December 1, 2022, the OOR appeal officer issued a final determination denying

   Plaintiff’s request for digital images, accepting Defendants’ statements without

   examination. (OOR Dkt. 2022-2536).

51. On December 29, 2022, Plaintiff filed a ‘Petition to Enforce a Final Determination’ in the

   Lancaster County Court of Common Pleas to enforce the OOR’s final determination

   granting the mail-in ballots. (OOR Dkt. 2022-1749).

52. On May 12, 2023, the Court of Common Pleas dismissed Plaintiff’s petition, concluding

   that the County had authority from 25 P.S. § 2648 to create its regulations. (Request:

   2022-1749).

53. On May 12, 2023, the Court of Common Pleas also dismissed Plaintiff’s appeal for the

   digital images, concluding that the RTKL gives the OOR appeal officer wide discretion

   regarding evidentiary standards under the RTKL and no hearing is required. (OOR Dkt.

   2022-2536).

54. Plaintiff appealed both these matters. As of June 8, 2023, Plaintiff’s appeals remain

   pending in the Pennsylvania Commonwealth Court.




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55. Defendants, acting in both their individual and official capacities, continue to deprive

   Plaintiff of records to which he is statutorily entitled.

56. As a result of Defendants’ actions, taken in both their individual and official capacities,

   Plaintiff has suffered emotional stress, anxiety, despair, and sleeplessness.

57. Defendants’ actions, taken in both their individual and official capacities, have caused

   Plaintiff to lose business opportunities.

58. Defendants’ actions, taken in both their individual and official capacities, have caused

   harm to Plaintiff’s reputation.

59. Defendants’ actions, taken in both their individual and official capacities, have forced

   Plaintiff to spend thousands of hours on litigation.

60. Defendants’ actions, taken in both their individual and official capacities, have cost

   Plaintiff thousands of dollars in litigation.

61. Defendants’ actions, taken in both their individual and official capacities, have forced

   Plaintiff to litigate his rights under coercion, intimidation, threat, and duress.

62. Defendants’ actions, taken in both their individual and official capacities, have caused

   Plaintiff to divert time from his family and business.

63. In August 2022, as a result of Defendants’ actions, both individually and officially, an

   article titled ‘Ex-Hopeful’ unfairly targeted Plaintiff, reflecting retaliatory efforts against

   him for his advocacy and records requests. (See Exhibit 05).

64. On January 23, 2023, the Pennsylvania Department of State dismissed Plaintiff’s HAVA

   complaint regarding election irregularities, refusing to address the re-marking process

   issues. (See Exhibit 06).




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   65. In Previte v. Erie County Board of Elections, the Pa. Commonwealth Court held that

       digital images of mail-in ballots are accessible through RTKL requests, contradicting

       Defendants’ refusal to provide these records. (See Exhibit 07).




                            X.     EXHIBIT HANDLING

References to documents will be noted throughout the claims as needed. The complaint will

serve no more than 5-10 key exhibits, while other documents can be provided during the

discovery process.




                          XI.     GENERAL LIABILITY

1. Monell Liability

Defendant County of Lancaster is liable for constitutional violations under Monell v. Department

of Social Services, 436 U.S. 658 (1978), because the deprivation of Plaintiff’s rights resulted

from County’s official policies, customs, or practices. Additionally, County of Lancaster acted

outside its lawful authority under Title 53, Section 2962 of the Pennsylvania Consolidated

Statutes by engaging in conduct, particularly in its handling of election-related procedures, which

exceeded statutory limitations. The following policies and customs were the moving force

behind the violations:

2. Policy or Custom of Arbitrary Denial or Obstruction of Public Record Requests:

County maintained a policy or custom of arbitrarily denying or obstructing public record


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requests to suppress unfavorable information and prevent its dissemination.

3. Custom of Retaliatory Conduct:

Defendants engaged in a pattern of retaliatory conduct against individuals, including Plaintiff,

who engaged in advocacy and public criticism of County officials.

4. Use of Pretextual Legal Justifications:

County utilized pretextual legal justifications to deny access to public records and obstruct the

rights of requesters, including Plaintiff.

5. Inadequate Training and Supervision:

County failed to provide adequate training and supervision of officials responsible for

administering public record policies, resulting in the consistent deprivation of the rights of record

requesters, including Plaintiff.

6. County’s Liability Extends to Actions of Employees and Final Policymakers

County’s liability extends to actions taken by its employees and officials in their official

capacities, as well as decisions made by final policymakers, such as County’s commissioners and

County’s solicitor, who directly ratified or implemented the unlawful policies at issue. The

County’s policies were not only unconstitutional but also exceeded its legal authority, further

justifying Monell liability.

7. Supervisory Liability

Defendants Joshua Parsons, Ray D’Agostino, and Jacqueline Pfursich are liable in their

individual capacities as supervisors and final policymakers. Defendants, acting in their individual

capacities, directly participated in or were deliberately indifferent to the unlawful conduct. Under

Ashcroft v. Iqbal, 556 U.S. 662 (2009), and Rizzo v. Goode, 423 U.S. 362 (1976), these

Defendants are liable for:


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8. Personal Direction or Approval of Unlawful Actions:

Personally directing or approving the unlawful actions of subordinate officials.

9. Establishing Policies Resulting in Constitutional Violations:

Setting policies or directives that directly resulted in the deprivation of Plaintiff’s rights.

10. Failure to Intervene to Prevent Unconstitutional Conduct:

Failing to intervene to prevent known unconstitutional conduct, despite having the authority to

do so.

11. Supervisory Defendants’ Liability as Final Policymakers

As final policymakers, their decisions are attributable to County, and their active participation in

or approval of the unlawful policies establishes their supervisory liability under § 1983. These

ultra vires actions exceeded their lawful authority under Title 53, Section 2962.

12. Pennsylvania Constitution Liability

Plaintiff also seeks relief under Article I, Section 7 of the Pennsylvania Constitution, which

guarantees the right to free speech and prohibits retaliation against individuals for engaging in

public advocacy or criticism of government conduct. Defendants’ actions, including the

imposition of arbitrary restraints on Plaintiff’s ability to inspect and copy public records, violated

these rights and warrant declaratory and injunctive relief under state law.

13. Ongoing Pattern of Retaliatory Conduct

Defendants’ liability under the Pennsylvania Constitution is further supported by their ongoing

pattern of retaliatory conduct and suppression of Plaintiff’s ability to disseminate public

information, constituting a continuing violation of Plaintiff’s state constitutional rights.

14. Application to All Counts

The General Liability Section applies to all counts in which official capacity claims are asserted


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against County or where supervisory defendants are implicated in the implementation of

unlawful policies and practices. Each count references this section to establish the legal basis for

County’s and the supervisors’ liability under § 1983 and state law.

15. Relief Under Federal and State Law

Plaintiff seeks relief through 42 U.S.C. §§ 1983 and 1988 for violations of his rights under the

United States Constitution, specifically the First and Fourteenth Amendments, and the

Pennsylvania Constitution. Defendants are also liable under Monell v. Department of Social

Services, 436 U.S. 658 (1978), because their actions were taken pursuant to County’s official

policies, customs, and practices. Plaintiff’s state law claims are brought under Article I, Sections

7 and 11 of the Pennsylvania Constitution, which protect his rights to free expression and due

process.

16. Universal Reference for All Claims:

Unless otherwise specified, all claims herein are brought under 42 U.S.C. §§ 1983 and 1988, the

Pennsylvania Constitution, and Monell for the violations described. Defendants are liable in their

official and individual capacities as applicable.

17. Joint and Several Liability Statement:

All Defendants sued in their individual capacities are jointly and severally liable for the harms

resulting from their concerted actions, as detailed in each claim. The ultra vires actions of

Defendants in their individual capacities justify holding them jointly and severally liable for the

full extent of Plaintiff’s damages. Plaintiff seeks an order holding each Defendant individually

accountable to the full extent of damages awarded.

18. Take Care Clause Violation and Ultra Vires Actions:

Defendants, as County officials administering a federal election, had a duty under the Take Care


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Clause of Article II, Section 3 of the U.S. Constitution to ensure the faithful execution of federal

laws, including the Help America Vote Act (HAVA). County of Lancaster, through its official

policies and customs, failed to implement HAVA's voter protection standards—such as allowing

voters to verify and correct their ballots—thereby violating this duty and contributing to the

deprivation of Plaintiff’s constitutional rights. Additionally, Defendants exceeded their lawful

authority under Title 53, Section 2962 of the Pennsylvania Consolidated Statutes by engaging in

election-related procedures beyond statutory limitations. These ultra vires actions, taken in both

official and individual capacities, justify holding Defendants individually liable, while the

County remains liable under Monell for its failure to supervise and prevent these unconstitutional

practices.

18. Failure to Comply with Election Code Duties (25 Pa. Stat. § 2642)

Defendants, in their official capacities, were entrusted with specific duties under 25 Pa. Stat. §

2642 as the County Board of Elections, including ensuring that elections were conducted

honestly, efficiently, and uniformly. Their failure to comply with these statutory duties,

particularly the re-marking of absentee ballots without proper verification or correction

mechanisms, violated both Pennsylvania election laws and federal laws under HAVA.

Defendants also failed to comply with their duty to ensure election transparency, properly certify

election results, and investigate irregularities as required under 25 Pa. Stat. § 2642(i) and (k).

These failures contributed directly to the constitutional violations suffered by Plaintiff, including

the deprivation of his First and Fourteenth Amendment rights. This conduct exceeded their

lawful authority and supports liability under Monell and ultra vires theories, as Defendants

abused the powers and duties imposed upon them by law to obstruct Plaintiff’s rights.




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                 XII.       CONSOLIDATED DAMAGES CLAIM

Plaintiff incorporates this Consolidated Damages Claim section into each count of the complaint

to comprehensively describe the ongoing harm experienced due to Defendants’ actions and

policies. The damages are categorized into six key areas and apply to all counts asserted against

the Defendants, establishing a universal reference point that captures the full extent of the harm

suffered.

   1. Emotional Distress and Anxiety

       Plaintiff experienced severe emotional distress and anxiety resulting from Defendants’

       ongoing obstruction, retaliatory conduct, and false narratives that mischaracterized his

       legitimate advocacy efforts. Defendants’ actions—including imposing unlawful restraints

       on Plaintiff’s access to records and engaging in public statements that undermined his

       credibility—created a chilling effect that significantly impacted his mental health and

       emotional well-being.

             o   Public Mischaracterization:

                 Defendants falsely portrayed Plaintiff’s efforts as disruptive and unreasonable,

                 creating a public perception that Plaintiff was acting out of personal malice rather

                 than genuine concern for transparency and election integrity.

             o   Emotional Impact:

                 Plaintiff endured persistent stress and anxiety, which affected his ability to engage

                 in advocacy and pursue his professional and personal interests. This ongoing

                 distress was compounded by negative media portrayals and Defendants’ persistent

                 denials.


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2. Reputational Harm

   Defendants’ portrayal of Plaintiff’s lawful efforts to obtain public records as vexatious or

   frivolous significantly damaged his reputation as a public advocate. The false narratives

   and misleading public statements, coupled with the intentional suppression of

   information, created a false perception that undermined Plaintiff’s credibility and

   standing within the community.

      o   Misleading Statements to the Media:

          Defendants misrepresented Plaintiff’s motives and portrayed his advocacy as

          baseless, resulting in negative media coverage that harmed Plaintiff’s public

          image.

      o   Undermined Advocacy Role:

          Defendants’ actions cast doubt on Plaintiff’s motives, discrediting his role as an

          advocate for election transparency and accountability.

3. Suppression of Advocacy Efforts

   Defendants’ imposition of arbitrary restraints and denials directly suppressed Plaintiff’s

   ability to gather and disseminate information to the public. These actions, which included

   obstructing access to election records and falsely representing the legal basis for such

   restrictions, had a chilling effect on Plaintiff’s advocacy efforts.

      o   Obstruction of Public Records Access:

          Defendants’ selective application of legal standards and pretextual interpretations

          of state law obstructed Plaintiff’s attempts to engage in public advocacy, thereby

          violating his First Amendment rights.

      o   Impact on Political Speech:


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          By depriving Plaintiff of the ability to obtain and share information, Defendants

          significantly impaired his capacity to inform the public, thereby suppressing his

          right to engage in political speech and advocacy.

4. Financial Losses

   Plaintiff incurred significant financial losses due to Defendants’ obstruction and

   retaliatory conduct. These losses include the costs of defending his rights through

   multiple legal actions, as well as the diversion of time and resources from his personal

   and professional endeavors to address the restrictions imposed by Defendants.

      o   Protracted Legal Battles:

          Defendants’ conduct led to protracted litigation and ongoing administrative

          appeals, resulting in substantial legal expenses and the expenditure of thousands

          of hours defending his rights.

      o   Loss of Business Opportunities:

          The significant financial and time investment in these legal battles resulted in lost

          business opportunities and a substantial disruption of Plaintiff’s professional and

          personal life.

5. Irreparable Injury Under Elrod v. Burns

   As established in Elrod v. Burns, 427 U.S. 347 (1976), the loss of First Amendment

   freedoms, even for minimal periods, constitutes irreparable injury. Defendants’ conduct,

   which suppressed Plaintiff’s rights to free speech, petition, and public advocacy, resulted

   in harm that cannot be adequately remedied through monetary damages alone.

      o   Irreparable Harm to First Amendment Rights:

          Defendants’ suppression of Plaintiff’s right to access and disseminate public


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          information resulted in an irreparable injury to his constitutional rights.

      o   Lasting Impact on Advocacy Efforts:

          The ongoing suppression of Plaintiff’s ability to gather and share information

          significantly impacted his role as a public advocate, creating a long-term chilling

          effect that continues to undermine his ability to engage in public discourse.

6. Personal and Professional Impact

   Defendants’ retaliatory and obstructive conduct caused Plaintiff to divert substantial time

   and energy away from his family, business, and other professional interests. This

   diversion of resources and time created substantial harm to Plaintiff’s personal and

   professional life, leading to strained relationships and loss of interest in activities he once

   enjoyed.

      o   Family and Personal Impact:

          The ongoing legal battles and the need to defend his rights against arbitrary

          government action created significant strain on Plaintiff’s personal life,

          undermining his ability to fully engage as a father and husband.

      o   Professional and Business Harm:

          Plaintiff’s professional life was similarly disrupted, resulting in lost business

          opportunities and a diminished capacity to engage in other professional endeavors

          due to the overwhelming time investment required to pursue this litigation.

   7. Application to All Counts

   Each count of this complaint incorporates this Consolidated Damages Claim Section by

   reference, as Defendants’ conduct in each respective count resulted in emotional distress,

   reputational harm, suppression of advocacy efforts, financial losses, and irreparable


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       injury as described above. This section serves as the central reference point for

       understanding the full scope of harm suffered by Plaintiff, ensuring clarity and

       comprehensiveness without redundant repetition of the damages narrative in each

       individual count.




                        XIII.     CLAIMS FOR RELIEF

This section consolidates Plaintiff’s individual causes of action, outlining each specific claim

against the Defendants for violations of Plaintiff’s constitutional and statutory rights. Each count

references the facts and harm described in the preceding sections, as well as the legal bases for

relief sought.




COUNT I: 42 U.S.C. § 1983 – PRIOR RESTRAINT

A. Capacity References

This Count is asserted against:


   •   County of Lancaster (Official Capacity)

   •   Bender (in her individual and official capacities)

   •   Pfursich (in her individual and official capacities)

   •   Parsons (in his individual and official capacities)

   •   D’Agostino (in his individual and official capacities)

   •   C. Miller (in her individual and official capacities)




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B. Summary of Count

Plaintiff alleges that Defendants unlawfully imposed a prior restraint on his First Amendment

rights by restricting his access to election records, preventing him from inspecting and copying

materials that were essential to his political advocacy. These restrictions were content-based and

aimed at suppressing Plaintiff’s speech and public oversight of election processes.


C. Jurisdictional Basis

This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) because Plaintiff seeks to

redress the deprivation of rights secured by the U.S. Constitution under 42 U.S.C. § 1983. Venue

is proper under 28 U.S.C. § 1391(b) because Defendants reside in and the events giving rise to

this claim occurred in the Eastern District of Pennsylvania.


D. Elements of Prior Restraint Claim


   •   Restriction on Speech: There must be a government action or policy that restricts speech

       before it occurs.

   •   Content-Based: The restriction must be aimed at the content of the speech, rather than

       neutral or procedural.

   •   Lack of Judicial Review: The government must fail to provide timely judicial review to

       determine whether the restriction is permissible.

   •   Harm: Plaintiff must demonstrate harm from the restriction on speech.


E. Restatement Clause

Plaintiff incorporates by reference the factual allegations in Paragraphs 1-13, 15-16, 18, 21-25,

34-38, 41, 43-45, 50 of the Factual Allegations Section as if fully set forth herein.


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F. Unified Conduct and Elements by Defendant


   •   County of Lancaster

          o   Official Capacity:

                  "   The County imposed a prior restraint by enacting policies that prevented

                      Plaintiff from obtaining public records to which he was statutorily entitled

                      (see Exhibit 09), restricting Plaintiff’s ability to engage in public

                      oversight (see Paragraph 35).

                  "   The restrictions were content-based, as they targeted information related to

                      election errors and inconsistencies that Plaintiff sought to disseminate (see

                      Paragraph 35).

   •   Bender

          o   Official Capacity:

                  "   Bender enforced the County’s policy by preventing Plaintiff from

                      photographing or copying election records, which constituted a prior

                      restraint on Plaintiff’s speech and public advocacy (see Paragraph 34).

          o   Individual Capacity:

                  "   In her individual capacity, Bender actively participated in imposing the

                      prior restraint by denying Plaintiff the ability to disseminate critical

                      election information (see Paragraph 34).

   •   Pfursich

          o   Official Capacity:




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                   "   Pfursich directed and justified the restrictions on Plaintiff’s access to

                       records, claiming legal exemptions that did not apply, thereby imposing a

                       content-based restraint (see Paragraph 34).

           o   Individual Capacity:

                   "   Pfursich personally participated in the decision to deny Plaintiff access to

                       records, enforcing the content-based restrictions aimed at preventing the

                       dissemination of election-related information (see Paragraph 34).


4. Parsons, D’Agostino, and C. Miller


      •    Official Capacities:

               o   These Defendants, in their official roles, ratified the restrictions that prevented

                   Plaintiff from accessing election records, constituting a prior restraint on his

                   ability to engage in public discourse (see Paragraph 35).

               o   Their failure to provide Plaintiff with judicial review or recourse exacerbated

                   the harm caused by the restriction (see Paragraph 35).

      •    Individual Capacities:

               o   In their individual capacities, Parsons, D’Agostino, and C. Miller personally

                   participated in the decision to enforce content-based restrictions that

                   prevented Plaintiff from accessing and copying election records. These actions

                   were aimed at suppressing Plaintiff’s speech and political advocacy (see

                   Paragraph 35).

               o   By acting beyond the scope of their lawful authority, these Defendants played

                   an active role in denying Plaintiff his First Amendment rights, directly


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                    contributing to the unlawful prior restraint imposed on Plaintiff’s access to

                    information.


G. Ultra Vires Statement

Although Defendants’ actions were taken in their official capacities, they exceeded their lawful

authority by imposing unlawful prior restraints on Plaintiff’s speech and right to access public

records. This unlawful conduct justifies suing Defendants in their individual capacities.


H. Color of Law Statement

All actions alleged in this count were taken by Defendants under color of state law in their

respective capacities as officers, employees, or agents of the County. Each Defendant’s conduct

constitutes state action and is actionable under 42 U.S.C. § 1983 for violating Plaintiff’s

constitutional rights.


I. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.


J. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury under Elrod v. Burns.




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K. Relief Sought

Plaintiff seeks:


    1. Declaratory Relief

    2. Injunctive Relief

    3. Compensatory Damages

    4. Punitive Damages (where applicable)

    5. Such other relief as the Court deems just and proper.




COUNT II: 42 U.S.C. § 1983 – RETALIATION.

A. Capacity References

This Count is asserted against:


    •   County of Lancaster (Official Capacity)

    •   Bender (in her individual and official capacities)

    •   Pfursich (in her individual and official capacities)

    •   Parsons (in his individual and official capacities)

    •   D’Agostino (in his individual and official capacities)

    •   C. Miller (in her individual and official capacities)


B. Summary of Count

Plaintiff alleges that Defendants retaliated against him for exercising his First Amendment rights,

including his right to free speech and his right to petition the government for redress.

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Defendants’ retaliatory conduct took the form of arbitrary denials of public records requests,

dismissals of Plaintiff’s petitions without addressing the merits, and the filing of baseless

sanctions motions intended to suppress Plaintiff’s advocacy.


C. Jurisdictional Basis

This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) because Plaintiff seeks to

redress the deprivation of rights secured by the U.S. Constitution under 42 U.S.C. § 1983. Venue

is proper under 28 U.S.C. § 1391(b) because Defendants reside in and the events giving rise to

this claim occurred in the Eastern District of Pennsylvania.


D. Elements of Retaliation Claim


    •   Protected Conduct: Plaintiff engaged in constitutionally protected speech or petitioning

        activity.

    •   Adverse Action by Government: Defendants took adverse actions against Plaintiff that

        would deter a person of ordinary firmness from continuing to engage in such protected

        activity.

    •   Causal Connection: The adverse action was motivated by Plaintiff’s protected conduct.


E. Restatement Clause

Paragraphs 4, 9, 11-13, 15-17, 20-25, 28-29, 34-37, 41-44, 45-50 of the Factual Allegations

Section as if fully set forth herein.


F. Unified Conduct and Elements by Defendant


    •   County of Lancaster


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               "   The County engaged in a pattern of retaliatory conduct against Plaintiff by

                   selectively denying access to public records essential to his advocacy, in

                   violation of his rights (see Paragraph 34).

               "   The County also supported and participated in retaliatory actions by filing

                   baseless sanctions motions aimed at financially burdening and

                   intimidating Plaintiff for exercising his right to petition.

               "   The Defendants’ actions, including the coordinated release of the 'Ex-

                   Hopeful' article, were meant to harm Plaintiff’s public reputation in

                   retaliation for his efforts to seek transparency (See Exhibit 05).

•   Bender

       o   Official Capacity:

               "   Bender retaliated against Plaintiff by enforcing the County’s policies that

                   denied him access to critical election records (see Paragraph 34).

       o   Individual Capacity:

               "   In her individual capacity, Bender actively participated in obstructing

                   Plaintiff’s efforts to obtain public records and supported the filing of a

                   baseless sanctions motion as retaliation for Plaintiff's advocacy efforts (see

                   Paragraph 34).

•   Pfursich

       o   Official Capacity:

               "   Pfursich participated in the retaliatory conduct by upholding the arbitrary

                   denials of records requests and misrepresenting the legal justifications for

                   these denials (see Paragraph 34).


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           o   Individual Capacity:

                   "   Pfursich’s personal involvement in denying access to public records was

                       motivated by a desire to suppress Plaintiff’s political advocacy and was

                       further compounded by her support of the sanctions motion (see Paragraph

                       34).

   •   Parsons, D’Agostino, and C. Miller

           o   Official Capacities:

                   "   These Defendants ratified the County’s retaliatory policies and supported

                       the filing of the sanctions motion in an attempt to deter Plaintiff’s

                       advocacy (see Paragraph 35).

           o   Individual Capacities:

                   "   Each acted beyond the scope of their lawful authority by engaging in

                       retaliatory practices, including supporting the sanctions motion,

                       demonstrating clear intent to suppress Plaintiff's advocacy efforts.

                   "   C. Miller misrepresented Plaintiff and his requests in a front page article

                       of the local newspaper. (see Exhibit 05)


G. Retaliatory Sanctions Motion

On May 8, 2024, Defendants Parsons, D’Agostino, and Pfursich, in both their individual and

official capacities, filed a retaliatory sanctions motion against Plaintiff seeking $30,000, alleging

Plaintiff failed to withdraw his lawsuit by May 7, 2024. The motion for sanctions was filed to

intimidate and financially burden Plaintiff in response to his lawful petitioning efforts.




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H. Ultra Vires Statement

Although Defendants’ actions were taken in their official capacities, they exceeded their lawful

authority by retaliating against Plaintiff for exercising his First Amendment rights, including

filing the sanctions motion. This unlawful conduct justifies suing Defendants in their individual

capacities.


I. Color of Law Statement

All actions alleged in this count were taken by Defendants under color of state law in their

respective capacities as officers, employees, or agents of the County. Each Defendant’s conduct

constitutes state action and is actionable under 42 U.S.C. § 1983 for violating Plaintiff’s

constitutional rights.


J. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.


K. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury under Elrod v. Burns.


L. Relief Sought

Plaintiff seeks:


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   •   Declaratory Relief

   •   Injunctive Relief

   •   Compensatory Damages

   •   Punitive Damages (where applicable)

   •   Such other relief as the Court deems just and proper.




COUNT III: RIGHT TO PETITION

A. Capacity References

This Count is asserted against:


   •   County of Lancaster (Official Capacity)

   •   Bender (in her individual and official capacities)

   •   Pfursich (in her individual and official capacities)

   •   Parsons (in his individual and official capacities)

   •   D’Agostino (in his individual and official capacities)

   •   C. Miller (in her individual and official capacities)


B. Summary of Count

Plaintiff alleges that Defendants violated his First Amendment right to petition the government

for redress by systematically denying his access to public records, dismissing his complaints and

petitions on procedural grounds (such as 12(b)(6) and 12(b)(1)) without addressing their merits,

and retaliating against his efforts to expose reported election results. For every right, there must

be a remedy. Marbury v. Madison, 5 U.S. 137, 2 L. Ed. 60, 2 L. Ed. 2d 60 (1803). The court’s

failure to provide a remedy violates Plaintiff’s right to petition for redress.
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C. Jurisdictional Basis

This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) because Plaintiff seeks to

redress the deprivation of rights secured by the U.S. Constitution under 42 U.S.C. § 1983. Venue

is proper under 28 U.S.C. § 1391(b) because Defendants reside in and the events giving rise to

this claim occurred in the Eastern District of Pennsylvania.


D. Elements of Right to Petition Claim


   1. Exercise of the Right to Petition:

       Plaintiff engaged in constitutionally protected petitioning activity, including filing his

       HAVA complaint and RTKL requests.

   2. Adverse Action by Government:

       Defendants took adverse actions in response to Plaintiff’s petitions by dismissing them

       without redress, delaying rulings, denying records requests, and retaliating through

       sanctions motions. These actions would deter a person of ordinary firmness from

       continuing to engage in such activity.

   3. Causal Connection:

       The adverse actions were motivated by Plaintiff’s petitioning activity, demonstrating

       Defendants' intent to suppress Plaintiff’s efforts for election transparency.


E. Restatement Clause

Plaintiff incorporates by reference the factual allegations in Paragraphs 11-13, 15, 16, 20-25, 27-

29, 34, 42-45, 46-50 of the Factual Allegations Section as if fully set forth herein


F. Unified Conduct and Elements by Defendant


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•   County of Lancaster

       o   Official Capacity:

           The County systematically obstructed Plaintiff’s right to petition by denying his

           HAVA complaint, dismissing his petitions for public records access, and failing

           to address the merits of his claims (see Paragraphs 34-35). The County’s refusal

           to respond to Plaintiff’s petitions and its participation in retaliatory conduct

           directly obstructed his ability to seek redress.

•   Bender

       o   Official Capacity:

           Bender denied Plaintiff’s access to critical public records necessary for petitioning

           for election transparency (see Paragraph 34).

       o   Individual Capacity:

           In her individual capacity, Bender participated in obstructing Plaintiff’s efforts to

           petition for access to election records, contributing to the systemic denial of his

           rights (see Paragraph 34).

•   Pfursich

       o   Official Capacity:

           Pfursich advised and directed the denial of Plaintiff’s petitions, further

           suppressing his right to seek redress (see Paragraph 34).

       o   Individual Capacity:

           Pfursich’s personal involvement in the denial of Plaintiff’s right to petition was

           aimed at suppressing his efforts for election transparency (see Paragraph 34).

•   Parsons, D’Agostino, and C. Miller


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           o   Official Capacities:

               These Defendants ratified the County’s denials and dismissals of Plaintiff’s

               petitions, suppressing his right to petition the government for redress (see

               Paragraph 35).

           o   Individual Capacities:

               Each acted beyond the scope of their lawful authority by engaging in practices

               that suppressed Plaintiff’s right to petition for election transparency (see

               Paragraph 35).


G. HAVA Violations

Plaintiff’s efforts to seek redress through his HAVA complaint were met with systemic

obstruction. The County’s mishandling of absentee ballots and its refusal to allow Plaintiff to

challenge these irregularities led to the denial of his HAVA petition. This denial without proper

recourse illustrates the County’s broader effort to suppress Plaintiff’s right to petition for

transparency in election processes.


H. Ultra Vires Statement

Although Defendants’ actions were taken in their official capacities, they exceeded their lawful

authority by unlawfully obstructing Plaintiff’s right to petition the government. This unlawful

conduct justifies suing Defendants in their individual capacities.


I. Color of Law Statement

All actions alleged in this count were taken by Defendants under color of state law in their

respective capacities as officers, employees, or agents of the County. Each Defendant’s conduct



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constitutes state action and is actionable under 42 U.S.C. § 1983 for violating Plaintiff’s

constitutional rights.


J. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.


K. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury under Elrod v. Burns.


L. Relief Sought

Plaintiff seeks:


    •   Declaratory Relief

    •   Injunctive Relief

    •   Compensatory Damages

    •   Punitive Damages (where applicable)

    •   Such other relief as the Court deems just and proper.




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COUNT IV: 42 U.S.C. § 1983 – PROCEDURAL DUE PROCESS

A. Capacity References

This Count is asserted against:


   •   County of Lancaster (Official Capacity)

   •   Bender (in her individual and official capacities)

   •   Pfursich (in her individual and official capacities)

   •   Parsons (in his individual and official capacities)

   •   D’Agostino (in his individual and official capacities)

   •   C. Miller (in her individual and official capacities)


B. Summary of Count

Plaintiff alleges that Defendants violated his Fourteenth Amendment right to procedural due

process by systematically denying him access to public records, obstructing his attempts to

obtain transparency regarding election processes, and dismissing his petitions without providing

any meaningful review. Defendants further violated Plaintiff’s due process rights by engaging in

protracted delays and failing to afford Plaintiff proper notice and an opportunity to be heard.


C. Jurisdictional Basis

This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) because Plaintiff seeks to

redress the deprivation of rights secured by the U.S. Constitution under 42 U.S.C. § 1983. Venue

is proper under 28 U.S.C. § 1391(b) because Defendants reside in and the events giving rise to

this claim occurred in the Eastern District of Pennsylvania.


D. Elements of Procedural Due Process Claim


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   •   Deprivation of a Protected Interest: Plaintiff must demonstrate that he was deprived of a

       protected property or liberty interest.

   •   Lack of Adequate Procedures: The government failed to provide adequate procedural

       protections, such as notice and an opportunity to be heard, before depriving Plaintiff of

       that interest.

   •   Harm: Plaintiff must show that the lack of procedural safeguards resulted in harm.


E. Restatement Clause

Plaintiff incorporates by reference the factual allegations in Paragraphs 12, 14, 15, 19, 22, 26, 31,

34, 38, 40, 46-53 of the Factual Allegations Section as if fully set forth herein.


F. Unified Conduct and Elements by Defendant


   •   County of Lancaster

                   "    The County deprived Plaintiff of his procedural due process rights by

                        failing to provide him with timely access to public records and by

                        obstructing his ability to challenge irregularities in election processes. The

                        County denied Plaintiff’s requests without providing adequate notice,

                        justification, or an opportunity to be heard (see Paragraphs 34-35).

   •   Bender

           o   Official Capacity:

                   "    Bender participated in the County’s failure to provide Plaintiff with

                        meaningful procedural safeguards by enforcing policies that obstructed

                        access to critical election records (see Paragraph 34).

           o   Individual Capacity:

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               "   In her individual capacity, Bender was personally involved in the denial of

                   Plaintiff’s procedural rights, contributing to the deprivation of access and

                   opportunity to challenge these denials (see Paragraph 34). (see Exhibit

                   02)

•   Pfursich

       o   Official Capacity:

               "   Pfursich directed and supported the denial of Plaintiff’s procedural due

                   process rights by upholding arbitrary denials of access to public records

                   and failing to provide adequate procedural protections (see Paragraph 34).

       o   Individual Capacity:

               "   Pfursich personally contributed to the deprivation of Plaintiff’s procedural

                   rights by obstructing access to public records and disregarding Plaintiff’s

                   right to a fair hearing (see Paragraph 34). (see Exhibit 02)

•   Parsons, D’Agostino, and C. Miller

       o   Official Capacities:

               "   These Defendants ratified and endorsed the County’s denial of Plaintiff’s

                   procedural due process rights by obstructing his efforts to obtain a fair

                   hearing on his records requests and petitions (see Paragraph 35).

       o   Individual Capacities:

               "   Each acted beyond the scope of their lawful authority by contributing to

                   the failure to provide Plaintiff with adequate procedural protections and

                   ensuring the denial of his procedural rights (see Paragraph 35).




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G. HAVA and Procedural Denials

Plaintiff’s HAVA complaint was dismissed without meaningful review, and his attempts to

challenge election irregularities were systematically denied without proper procedural

safeguards. Defendants failed to provide Plaintiff with adequate notice or the opportunity to be

heard regarding these significant issues, resulting in the violation of Plaintiff’s due process

rights.


H. Ultra Vires Statement

Although Defendants’ actions were taken in their official capacities, they exceeded their lawful

authority by denying Plaintiff’s procedural due process rights without providing adequate

procedural safeguards. This unlawful conduct justifies suing Defendants in their individual

capacities.


I. Color of Law Statement

All actions alleged in this count were taken by Defendants under color of state law in their

respective capacities as officers, employees, or agents of the County. Each Defendant’s conduct

constitutes state action and is actionable under 42 U.S.C. § 1983 for violating Plaintiff’s

constitutional rights.


J. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.




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K. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury under Elrod v. Burns.


L. Relief Sought

Plaintiff seeks:


    •   Declaratory Relief

    •   Injunctive Relief

    •   Compensatory Damages

    •   Punitive Damages (where applicable)

    •   Such other relief as the Court deems just and proper.




COUNT V: 42 U.S.C. § 1983 – EQUAL PROTECTION VIOLATION (DISPARATE
ACCESS TO ELECTION RECORDS)
A. Capacity References

This Count is asserted against:


    •   County of Lancaster

    •   Bender

    •   Pfursich

    •   Parsons

    •   D’Agostino

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   •   C. Miller


B. Summary of Count

Plaintiff alleges that Defendants violated his Fourteenth Amendment equal protection rights by

providing other requesters with access to election records while denying Plaintiff access, thereby

treating him differently from other similarly situated individuals. This disparate access to

election records was arbitrary, unjustified, and aimed at suppressing Plaintiff’s political

advocacy.

C. Jurisdictional Basis

This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) because Plaintiff seeks to

redress the deprivation of rights secured by the U.S. Constitution under 42 U.S.C. § 1983. Venue

is proper under 28 U.S.C. § 1391(b) because Defendants reside in and the events giving rise to

this claim occurred in the Eastern District of Pennsylvania.

D. Elements of Equal Protection Claim


   1. Different Treatment: Plaintiff must show that they were treated differently than others

       similarly situated.

   2. Intentional or Purposeful Discrimination: Plaintiff must show that the disparate treatment

       was the result of intentional or purposeful discrimination.

   3. No Legitimate Justification: The government’s disparate treatment of Plaintiff must lack

       a rational or legitimate justification.


E. Restatement Clause

Plaintiff incorporates by reference the factual allegations in Paragraphs 13, 15, 16, 19, 21-22, 31,

34, 36, 39, 46-50 of the Factual Allegations Section as if fully set forth herein.

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F. Unified Conduct and Elements by Defendant


   1. County of Lancaster

                 "   County, through its officials, treated Plaintiff differently from other

                     similarly situated individuals by selectively denying access to election

                     records (see Paragraph 35).

                 "   The disparate access to public records was aimed at suppressing Plaintiff’s

                     political advocacy, and the treatment lacked any legitimate or rational

                     justification (see Paragraph 35).

   2. Bender

         o   Official Capacity:

                 "   Bender participated in the denial of Plaintiff’s access to election records,

                     enforcing restrictions that were not applied equally to other requesters (see

                     Paragraph 34).

                 "   Bender’s actions were designed to suppress Plaintiff’s advocacy, resulting

                     in a discriminatory and unequal application of the law (see Paragraph 34).

         o   Individual Capacity:

                 "   In her individual capacity, Bender engaged in discriminatory actions by

                     selectively denying Plaintiff access to records, treating him differently

                     from other requesters (see Paragraph 34).

   3. Pfursich

         o   Official Capacity:




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                 "   Pfursich advised and directed the denial of Plaintiff’s access to election

                     records, treating him differently from others who were similarly situated

                     (see Paragraph 34).

                 "   The denial of access was motivated by a desire to suppress Plaintiff’s

                     advocacy, and there was no legitimate basis for the unequal treatment (see

                     Paragraph 34).

          o   Individual Capacity:

                 "   Pfursich, in her individual capacity, actively participated in the disparate

                     treatment of Plaintiff by advising others to deny his requests while

                     providing access to other requesters (see Paragraph 34).


Parsons, D’Agostino, and C. Miller


          o   Official Capacities:

                 "   These Defendants, in their official roles, ratified the disparate treatment of

                     Plaintiff by endorsing and enforcing policies that selectively denied

                     Plaintiff access to election records while allowing others to inspect them

                     (see Paragraph 35).

                 "   Their actions were intended to suppress Plaintiff’s political advocacy and

                     lacked any legitimate justification for the unequal treatment (see

                     Paragraph 35).

          o   Individual Capacities:

                 "   In their individual capacities, Parsons, D’Agostino, and C. Miller

                     personally participated in and approved the arbitrary enforcement of legal


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                       standards to deny Plaintiff access to records. Each Defendant knowingly

                       contributed to the unequal treatment by taking actions aimed at depriving

                       Plaintiff of his rights, beyond their lawful authority (see Paragraph 35).

                   "   Their direct involvement in this discriminatory treatment was intended to

                       suppress Plaintiff's political advocacy and to prevent him from obtaining

                       records that could reveal election irregularities.


G. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.

H. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury under Elrod v. Burns.

I. Relief Sought

Plaintiff seeks:


    1. Declaratory Relief

    2. Injunctive Relief

    3. Compensatory Damages

    4. Punitive Damages (where applicable)

    5. Fees and Costs under 42 U.S.C. § 1988


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   6. Such other relief as the Court deems just and proper.




COUNT VI: EQUAL PROTECTION VIOLATION (DISPARATE ACCESS TO

JUDICIAL REVIEW UNDER THE PENNSYLVANIA RIGHT-TO-KNOW LAW)

A. Capacity References

This Count is asserted against:

   •   County of Lancaster (Official Capacity)

   •   Tammy Bender (in her Individual and Official Capacities)

   •   Jacqueline Pfursich (in her Individual and Official Capacities)

   •   Joshua Parsons (in his Individual and Official Capacities)

   •   Ray D’Agostino (in his Individual and Official Capacities)

B. Introduction

Plaintiff alleges that Defendants violated his Fourteenth Amendment right to equal protection by

enforcing the Pennsylvania Right-to-Know Law (RTKL) in a manner that subjected Plaintiff to a

more burdensome judicial review process under Section 1302, while others received direct

review under Section 1301. This selective enforcement created two classes of requestors, lacked

a legitimate governmental purpose, and was designed to obstruct Plaintiff’s access to records.

C. Restatement of Facts

Plaintiff incorporates by reference Paragraphs 16, 19, 21-24, 28, 31, 34, and 46-53 of the Factual

Allegations Section as if fully set forth herein.

D. Specific Conduct of Defendants

   1. County of Lancaster

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      o   Official Capacity: The County, through its officials, created and enforced a

          policy that required Plaintiff, unlike other requestors, to file a mandamus action

          under Section 1302, subjecting him to a more burdensome process of judicial

          review (see Paragraph 35).

2. Tammy Bender

      o   Official Capacity: Bender enforced the policy that subjected Plaintiff to

          mandamus actions while allowing other requestors direct access to judicial review

          (see Paragraph 34).

      o   Individual Capacity: Bender, in her individual capacity, participated in the

          selective enforcement and knowingly subjected Plaintiff to a more burdensome

          process of judicial review (see Paragraph 34).

3. Jacqueline Pfursich

      o   Official Capacity: Pfursich advised County officials to enforce the selective

          judicial review policy against Plaintiff, further obstructing his access to records

          (see Paragraph 34).

      o   Individual Capacity: In her individual capacity, Pfursich participated in advising

          and enforcing the unequal treatment of Plaintiff, subjecting him to unnecessary

          legal burdens (see Paragraph 34).

4. Joshua Parsons

      o   Official Capacity: Parsons ratified the County’s actions that subjected Plaintiff to

          a more burdensome judicial review process (see Paragraph 35).

      o   Individual Capacity: Parsons personally endorsed and supported the policy of

          selective enforcement against Plaintiff, knowingly subjecting him to additional


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                legal obstacles (see Paragraph 35).

    5. Ray D’Agostino

            o   Official Capacity: D’Agostino approved the County’s disparate enforcement

                policies, subjecting Plaintiff to the more burdensome judicial process (see

                Paragraph 35).

            o   Individual Capacity: D’Agostino participated in the decision to subject Plaintiff to

                a more burdensome judicial review process, enforcing the disparate treatment in

                his individual capacity (see Paragraph 35).

E. Color of Law Statement

All actions alleged in this count were taken by Defendants under color of state law in their

respective capacities as officers, employees, or agents of the County. Each Defendant’s conduct

constitutes state action and is actionable under 42 U.S.C. § 1983 for violating Plaintiff’s

constitutional rights.

F. Legal Elements and Supporting Facts

    1. Arbitrary Classification:

        Defendants created two distinct classes of RTKL requestors:

            o   Class 1: Section 1301 requestors who received direct judicial review.

            o   Class 2: Section 1302 requestors, like Plaintiff, who were subjected to the more

                burdensome process of mandamus actions.

    2. No Legitimate Purpose:

        There is no stated legislative purpose in the RTKL to subject certain requestors to

        mandamus actions. Defendants’ enforcement of these provisions against Plaintiff lacked

        any legitimate governmental justification.


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    3. Harm Resulting from Unequal Treatment:

        The arbitrary classification subjected Plaintiff to unnecessary legal costs, delays, and

        procedural obstacles, causing significant harm, including financial losses, reputational

        damage, and suppression of his advocacy efforts.

G. Ultra Vires Statement

Although Defendants’ actions were taken in their official capacities, they exceeded their lawful

authority by selectively enforcing RTKL provisions to place Plaintiff into a more burdensome

judicial process. This unlawful conduct justifies suing Defendants in their individual capacities.

H. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.

I. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury under Elrod v. Burns.

J. Relief Sought

Plaintiff seeks:

    1. Declaratory Relief

    2. Injunctive Relief

    3. Compensatory Damages

    4. Punitive Damages (where applicable)


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   5. Such other relief as the Court deems just and proper.




COUNT VII: PENNSYLVANIA CONSTITUTION VIOLATION – FREE SPEECH &
RIGHT TO PETITION
A. Capacity References

This Count is asserted against:

   1. County of Lancaster (Official Capacity)

   2. Tammy Bender (in her Individual and Official Capacities)

   3. Jacqueline Pfursich (in her Individual and Official Capacities)

   4. Joshua Parsons (in his Individual and Official Capacities)

   5. Ray D’Agostino (in his Individual and Official Capacities)

   6. Christa Miller (in her Individual and Official Capacities)

B. Introduction

Plaintiff alleges that Defendants violated his rights under Article I, Section 7 (Free Speech) and

Article I, Section 20 (Right to Petition) of the Pennsylvania Constitution. Defendants suppressed

Plaintiff’s speech and retaliated against him for exercising his right to petition the government

for redress. Defendants obstructed Plaintiff’s efforts to advocate for election transparency and to

seek legal redress, violating both state constitutional protections.

C. Restatement of Facts

Plaintiff incorporates by reference the factual allegations in Paragraphs 13, 15, 19, 21-23, 27, 31,

34, 36, and 46-53 of the Factual Allegations Section as if fully set forth herein.

D. Specific Conduct of Defendants

   1. County of Lancaster

           o   County officials obstructed Plaintiff’s right to free speech and petition by

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              implementing policies that suppressed Plaintiff’s access to and dissemination of

              public records concerning election irregularities (¶31, ¶34).

   2. Tammy Bender

          o   Official Capacity: Bender imposed restrictions that blocked Plaintiff’s access to

              public records, suppressing his ability to advocate for election transparency (¶34,

              ¶43).

          o   Individual Capacity: Bender actively participated in restricting Plaintiff’s access

              to records, preventing him from exercising his free speech and right to petition

              (¶34, ¶43).

   3. Jacqueline Pfursich

          o   Official Capacity: Pfursich directed Bender to impose restrictions, obstructing

              Plaintiff’s right to inspect records and engage in public advocacy for transparency

              (¶31, ¶43).

          o   Individual Capacity: Pfursich knowingly participated in obstructing Plaintiff’s

              access to records and suppressing his public advocacy (¶31, ¶43).

   4. Christa Miller

          o   Official Capacity: C. Miller provided false justifications for denying Plaintiff

              access to records, suppressing his ability to engage in public advocacy (¶27, ¶29).

   5. Joshua Parsons and Ray D’Agostino

          o   Official Capacities: Parsons and D’Agostino ratified the policies obstructing

              Plaintiff’s right to access public records and advocate for transparency during the

              October 12, 2022, board meeting (¶36, ¶43).

E. Elements of the Claim


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    1. Free Speech

            o   Article I, Section 7 of the Pennsylvania Constitution: Protects Plaintiff’s right to

                free speech, including the ability to access public records and advocate for

                transparency in the electoral process (¶13, ¶19, ¶31).

    2. Right to Petition

            o   Article I, Section 20 of the Pennsylvania Constitution: Guarantees Plaintiff’s right

                to petition the government for redress, including his efforts to seek accountability

                through advocacy and legal action (¶31, ¶34).

    3. Violation by Government Action

            o   Defendants’ Actions: Defendants, acting under color of state law, suppressed

                Plaintiff’s rights by obstructing his access to public records and preventing him

                from disseminating critical election information (¶34, ¶43).

F. Ultra Vires Statement

Although Defendants acted in their official capacities, their actions exceeded their lawful

authority by suppressing Plaintiff’s free speech and right to petition. Defendants’ unlawful

conduct justifies suing them in their individual capacities.

G. Color of Law Statement

All actions alleged in this count were taken by Defendants under color of state law in their

respective capacities as officers, employees, or agents of the County. Each Defendant’s conduct

constitutes state action and is actionable under Pennsylvania state law for violating Plaintiff’s

constitutional rights.

H. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s


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Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.

I. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury under Elrod v. Burns.

J. Relief Sought

Plaintiff seeks:

    1. Declaratory Relief

    2. Injunctive Relief

    3. Compensatory Damages

    4. Punitive Damages (where applicable)

    5. Such other relief as the Court deems just and proper.



COUNT VIII: PENNSYLVANIA CONSTITUTION VIOLATION – FREE AND FAIR

ELECTION

A. Capacity References

This Count is asserted against:

    •   County of Lancaster (Official Capacity)

    •   Tammy Bender (in her Individual and Official Capacities)

    •   Jacqueline Pfursich (in her Individual and Official Capacities)

    •   Joshua Parsons (in his Individual and Official Capacities)


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   •   Ray D’Agostino (in his Individual and Official Capacities)

   •   Christa Miller (in her Individual and Official Capacities)

B. Introduction

Plaintiff alleges that Defendants violated Article I, Section 5 of the Pennsylvania Constitution,

which guarantees the right to free and fair elections. By mishandling absentee ballots,

obstructing Plaintiff’s access to critical election records, and failing to provide voters with

opportunities to verify and correct their ballots, Defendants compromised the transparency and

fairness of the May 2022 election. This misconduct deprived Plaintiff of a fair election process

and undermined his ability to seek redress.

C. Restatement of Facts

Plaintiff incorporates by reference the factual allegations in Paragraphs 3-7, 14, 16, 19, 22, 24,

29, 31, 34, 36, 46-53 of the Factual Allegations Section as if fully set forth herein.

D. Specific Conduct of Defendants

   1. County of Lancaster

           o   Official Capacity: County officials failed to ensure transparency by obstructing

               access to public voting records and mishandling absentee ballots, including re-

               marking ballots without providing voters the opportunity to verify or correct their

               selections (¶31, ¶34, ¶36).

   2. Tammy Bender

           o   Official Capacity: Bender participated in obstructing Plaintiff’s access to election

               records and took part in the re-marking process for absentee ballots without voter

               verification (¶34, ¶43).

           o   Individual Capacity: Bender directly participated in obstructing Plaintiff's access


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             to election records and mishandling absentee ballots, violating Plaintiff’s right to

             a free and fair election.

   3. Jacqueline Pfursich

         o   Official Capacity: Pfursich directed other officials to obstruct Plaintiff’s access to

             records and supervised the re-marking process that did not allow voters to verify

             their ballots (¶31, ¶43).

         o   Individual Capacity: Pfursich advised and directed unlawful restrictions on

             Plaintiff’s access to records, contributing to the mismanagement of absentee

             ballots.

   4. Christa Miller

         o   Official Capacity: C. Miller provided false justifications for denying Plaintiff

             access to records and oversaw the absentee ballot re-marking process without

             providing voter verification (¶27, ¶29).

         o   Individual Capacity: C. Miller personally participated in denying Plaintiff access

             to records and played a role in the improper re-marking of absentee ballots.

   5. Joshua Parsons and Ray D’Agostino

         o   Official Capacities: Parsons and D’Agostino ratified policies that obstructed

             Plaintiff’s access to records and oversaw the re-marking of absentee ballots,

             compromising the election process (¶36, ¶43).

         o   Individual Capacities: Both Parsons and D’Agostino actively participated in

             obstructing Plaintiff’s access to election records and mishandling absentee ballots,

             contributing to the violations of Plaintiff’s right to a fair election.

E. Integration of HAVA Violations


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Defendants' mishandling of absentee ballots violated HAVA (52 U.S.C. § 21081), which sets

federal standards for voting transparency and fairness. The County’s re-marking process

exceeded allowable error rates, failed to provide voters the opportunity to verify their votes, and

did not produce an auditable record, directly violating HAVA’s standards and Pennsylvania’s

constitutional right to a fair election.

F. Ultra Vires Statement

Although Defendants acted in their official capacities, they exceeded their lawful authority under

HAVA and Pennsylvania law. As County officials, their failure to comply with HAVA and their

mismanagement of absentee ballots violated both federal and state election standards. This

justifies suing Defendants in their individual capacities.

G. Color of Law Statement

All actions alleged in this count were taken by Defendants under color of state law in their

respective capacities as officers, employees, or agents of the County. Each Defendant’s conduct

constitutes state action and is actionable under Pennsylvania state law for violating Plaintiff’s

constitutional rights.

H. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.

I. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,


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and irreparable injury under Elrod v. Burns.

J. Relief Sought

Plaintiff seeks:

    1. Declaratory Relief

    2. Injunctive Relief

    3. Compensatory Damages

    4. Punitive Damages (where applicable)

    5. Such other relief as the Court deems just and proper.




COUNT IX: CONSPIRACY (42 U.S.C. § 1983)

A. Capacity References

This Count is asserted against:

    •   County of Lancaster (Official Capacity)

    •   Tammy Bender (in her Individual and Official Capacities)

    •   Jacqueline Pfursich (in her Individual and Official Capacities)

    •   Joshua Parsons (in his Individual and Official Capacities)

    •   Ray D’Agostino (in his Individual and Official Capacities)

    •   Christa Miller (in her Individual and Official Capacities)

B. Summary of Count

Plaintiff alleges that Defendants conspired to deprive him of constitutional rights under the First

and Fourteenth Amendments, including free speech, petition, due process, and equal protection.


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Defendants coordinated to obstruct Plaintiff’s access to public records, deny transparency, and

retaliate against him for exercising his rights. Their coordinated efforts are evident from

discussions at the October 12, 2022 Board Meeting and D’Agostino’s October 18, 2022 letter,

aimed at suppressing Plaintiff’s ability to challenge election irregularities.

C. Jurisdictional Basis

This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) because Plaintiff seeks

redress for the deprivation of rights secured by the U.S. Constitution under 42 U.S.C. § 1983.

Venue is proper under 28 U.S.C. § 1391(b) because Defendants reside in and the events giving

rise to this claim occurred in the Eastern District of Pennsylvania.

D. Elements of Conspiracy Claim

   1. Agreement to Deprive Plaintiff of Constitutional Rights: There must be an agreement

       between two or more persons to deprive Plaintiff of his constitutional rights.

   2. Actions in Furtherance of the Conspiracy: Defendants must have engaged in overt acts in

       furtherance of the conspiracy.

   3. Deprivation of Constitutional Rights: As a result of the conspiracy, Plaintiff must have

       been deprived of constitutional rights, including free speech, the right to petition, due

       process, or equal protection.

E. Restatement of Facts

Plaintiff incorporates by reference the factual allegations in Paragraphs 13, 15-17, 19, 21-23, 27,

31, 34, 36, 46-53 of the Factual Allegations Section as if fully set forth herein.

F. Specific Conduct of Defendants

   1. County of Lancaster:

           o   County officials engaged in an agreement to deprive Plaintiff of his rights by


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          coordinating efforts to deny access to public records and suppress Plaintiff’s

          advocacy (¶35).

      o   County officials carried out overt acts, including issuing policies and orders to

          block Plaintiff’s access to essential election records, resulting in the deprivation of

          Plaintiff’s constitutional rights (¶35).

2. Tammy Bender:

      o   Official Capacity: Bender participated in the conspiracy by enforcing policies that

          denied Plaintiff access to public records and suppressed his advocacy, carrying

          out overt acts in furtherance of the conspiracy (¶34).

      o   Individual Capacity: Bender personally acted in concert with others to deprive

          Plaintiff of his First and Fourteenth Amendment rights by arbitrarily denying his

          access to public records and advancing the conspiracy’s objectives (¶34).

3. Jacqueline Pfursich:

      o   Official Capacity: Pfursich advised and directed the denial of Plaintiff’s access to

          election records and public information, furthering the conspiracy by issuing legal

          justifications to suppress Plaintiff’s advocacy (¶34).

      o   Individual Capacity: Pfursich actively participated in the conspiracy by advising

          others and taking actions designed to prevent Plaintiff from exercising his rights,

          including drafting letters and legal memoranda to support the conspiracy’s

          objectives (¶34).

4. Joshua Parsons, Ray D’Agostino, and Christa Miller:

      o   Official Capacities: Parsons, D’Agostino, and C. Miller ratified the conspiracy by

          approving policies and actions that blocked Plaintiff’s access to records and


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                suppressed his political advocacy, committing overt acts to further the

                conspiracy’s goals (¶35).

            o   Individual Capacities: Parsons, D’Agostino, and C. Miller personally acted in

                concert with others, including issuing directives and policies that obstructed

                Plaintiff’s ability to obtain public records and disseminate information about

                election irregularities, contributing to the conspiracy’s success (¶35).

G. Ultra Vires Statement

Although Defendants acted in their official capacities, they exceeded their lawful authority by

conspiring to deprive Plaintiff of his constitutional rights. This unlawful conduct justifies suing

Defendants in their individual capacities.

H. Color of Law Statement

All actions alleged in this count were taken by Defendants under color of state law in their

respective capacities as officers, employees, or agents of the County. Each Defendant’s conduct

constitutes state action and is actionable under 42 U.S.C. § 1983 for conspiring to violate

Plaintiff’s constitutional rights.

I. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.

J. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,


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and irreparable injury under Elrod v. Burns.

K. Relief Sought

Plaintiff seeks:

    1. Declaratory Relief

    2. Injunctive Relief

    3. Compensatory Damages

    4. Punitive Damages (where applicable)

    5. Such other relief as the Court deems just and proper.




COUNT X: VIOLATION OF THE HELP AMERICA VOTE ACT (HAVA)

A. Capacity References

This Count is asserted against:

    •   County of Lancaster (Official Capacity)

    •   Jacqueline Pfursich (Individual and Official Capacities)

    •   Joshua Parsons (Individual and Official Capacities)

    •   Ray D'Agostino (Individual and Official Capacities)

    •   Christa Miller (Individual and Official Capacities)

B. Summary of Count

Plaintiff alleges that Defendants violated the Help America Vote Act (HAVA) by mishandling

absentee ballots during the 2021, 2022, and 2023 election cycles. Specifically, Defendants’

remarking process violated HAVA standards by failing to provide voters with ballots containing

Plaintiff’s race, preventing voters from verifying their ballots, and denying them the opportunity


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to correct any errors before the ballots were counted. During the January 9, 2023, hearing before

Acting Secretary of State Al Schmidt, testimony from Defendant Christa Miller confirmed that

Parsons, Pfursich, and D'Agostino were directly involved in the remarking process. The

Pennsylvania Department of State’s dismissal of Plaintiff’s HAVA complaint further

demonstrates Defendants’ pattern of disregard for federal election law (see Exhibits 01 and 06).

C. Jurisdictional Basis

This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343 because Plaintiff seeks to redress

violations of HAVA, a federal law. Venue is proper under 28 U.S.C. § 1391(b) because

Defendants reside in and the events giving rise to this claim occurred in the Eastern District of

Pennsylvania.

D. Elements of HAVA Violation

   1. Failure to Permit Voter Verification (52 U.S.C. § 21081(a)(1)(A)(i)):

           o    Defendants replaced approximately 14,000 absentee ballots without allowing

                voters to verify their vote selections before the ballots were cast and counted,

                violating HAVA's voter protection standards.

   2. Failure to Allow Opportunity for Correction (52 U.S.C. § 21081(a)(1)(A)(ii)):

           o    Defendants denied voters the opportunity to correct any errors before their ballots

                were cast and counted. The remarking process prevented voters from reviewing

                and correcting their ballots.

   3. Failure to Provide Notice of Over-Voting (52 U.S.C. § 21081(a)(1)(A)(iii)):

           o    Defendants failed to notify voters of over-votes and did not provide an

                opportunity to correct these mistakes before their ballots were counted.

   4. Failure to Produce an Audit Trail (52 U.S.C. § 21081(a)(2)):


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           o   Defendants failed to produce a permanent, auditable paper record for absentee

               ballots, violating HAVA’s requirement for election auditability.

   5. Exceeding the FEC Error Rate Standard (52 U.S.C. § 21081(a)(5)):

           o   The error rate associated with the remarking of absentee ballots exceeded the

               FEC’s allowable error rate of one in 10,000,000 ballot positions, violating

               HAVA’s error rate requirements.

E. Restatement Clause

Plaintiff incorporates by reference Paragraphs 3 through 9 of the Factual Allegations Section,

detailing how Defendants failed to meet HAVA standards in handling absentee ballots, including

misprints, disenfranchisement, and illegal ballot replacements during the remarking process.

F. Unified Conduct and Elements by Defendant

   1. County of Lancaster:

           o   County violated HAVA by implementing policies that resulted in the replacement

               of absentee ballots without giving voters the opportunity to verify or correct their

               selections (see Exhibit 01).

   2. Jacqueline Pfursich:

           o   Official Capacity: Pfursich directed the ballot replacement procedures, denying

               voters verification of their ballots, thereby violating HAVA’s safeguards (see

               Exhibit 01).

           o   Individual Capacity: In her individual capacity, Pfursich advised Defendants

               Parsons, D’Agostino, and C. Miller to implement procedures that unlawfully

               denied voters their rights under HAVA (See Exhibit 08).

   3. Joshua Parsons, Ray D’Agostino, and Christa Miller:


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           o   Official Capacities: These Defendants approved and implemented the illegal

               remarking process for absentee ballots, denying voters the right to verify and

               correct their ballots before they were cast. (see Exhibit 01)

           o   Individual Capacities: In their individual capacities, Parsons, D’Agostino, and C.

               Miller actively participated in implementing the replacement of ballots.

               Testimony from Defendant C. Miller during the January 9, 2023, hearing

               highlights her role and references to Parsons, Pfursich, and D’Agostino as

               decision-makers (see Exhibit 08).

G. Ultra Vires Clause

While some of Defendants' actions were taken in their official capacities, many exceeded their

lawful authority. These ultra vires actions justify suing Defendants in their individual capacities.

H. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.

I. Legal Elements and Supporting Facts

   1. Violation of 52 U.S.C. § 21081(a)(1)(A)(i):

           o   Defendants violated HAVA’s requirement by replacing absentee ballots without

               allowing voters to verify their selections before they were counted.

   2. Violation of 52 U.S.C. § 21081(a)(1)(A)(ii):

           o   Defendants failed to offer voters the opportunity to correct errors on their ballots

               before they were processed.

   3. Violation of 52 U.S.C. § 21081(a)(1)(A)(iii):


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            o      Defendants failed to notify voters of over-votes and provide an opportunity for

                   correction.

    4. Violation of 52 U.S.C. § 21081(a)(2):

            o      Defendants did not produce a permanent, auditable paper record for absentee

                   ballots, violating HAVA’s auditability requirement.

    5. Violation of 52 U.S.C. § 21081(a)(5):

            o      The error rate in the replacement of absentee ballots exceeded HAVA’s allowable

                   error rate standard.

J. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury.

K. Relief Sought

Plaintiff seeks:

    1. Declaratory Relief

    2. Injunctive Relief

    3. Compensatory Damages

    4. Punitive Damages (where applicable)

    5. Such other relief as the Court deems just and proper.




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COUNT XI: MONELL LIABILITY
A. Capacity References

This Count is asserted against County of Lancaster for constitutional violations under Monell v.

Department of Social Services, 436 U.S. 658 (1978). Plaintiff alleges that the deprivation of his

rights resulted from County’s official policies, customs, and practices, which were the moving

force behind the constitutional violations described in this complaint.

B. Summary of Count

Plaintiff alleges that County of Lancaster is liable under Monell because its official policies,

customs, and failure to supervise employees led to the deprivation of Plaintiff’s constitutional

rights. These violations include obstruction of access to public records, suppression of advocacy

efforts, and unlawful actions regarding the administration of absentee ballots during federal

elections. The County’s failure to follow federal law, including HAVA, and its reliance on

pretextual legal justifications to block public access, violated Plaintiff’s rights under the First and

Fourteenth Amendments.

C. Jurisdictional Basis

This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343 because Plaintiff seeks to redress

violations of his constitutional rights under 42 U.S.C. § 1983. Venue is proper under 28 U.S.C. §

1391(b) because Defendant County of Lancaster resides in and the events giving rise to this

claim occurred in the Eastern District of Pennsylvania.

D. Elements of Monell Claim

   1. Existence of a Policy or Custom: Plaintiff must show that a municipal policy or custom

       caused the constitutional violation.

   2. Causation: The policy or custom must be the moving force behind the constitutional

       violation.

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   3. Failure to Train or Supervise: Plaintiff must show that the County’s failure to adequately

       train or supervise employees led to the constitutional violation.

E. Restatement Clause

Plaintiff incorporates by reference the factual allegations in Paragraphs 13, 16, 19, 22, 23, 26, 34,

36, 46-53 of the Factual Allegations Section as if fully set forth herein.

F. Specific Conduct of the County

   1. Policy or Custom of Obstruction:

       County maintained a policy or custom of obstructing public access to records, especially

       election-related records. This obstruction served to suppress unfavorable information,

       preventing Plaintiff from engaging in public advocacy and undermining his constitutional

       rights to free speech and petition (see Paragraphs 31, 34, and 43).

   2. Failure to Supervise and Train:

       County failed to adequately train and supervise its employees, particularly Defendants

       Bender, Pfursich, Parsons, and D’Agostino, regarding compliance with public records

       laws and HAVA standards. This failure to provide proper training led to the unlawful

       obstruction of Plaintiff’s access to critical election records (see Paragraphs 31 and 34).

   3. Failure to Execute Federal Law:

       County officials, administering a federal election, were required to follow federal law

       under the Help America Vote Act (HAVA). The County’s failure to allow voters to

       verify and correct their absentee ballots before they were counted violated federal

       election law and contributed to the constitutional violations suffered by Plaintiff. As

       administrators of a federal election, County officials were also required to faithfully

       execute these laws under the Take Care Clause of the U.S. Constitution, but failed to do


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        so (see Paragraphs 31 and 35).

    4. Pretextual Legal Justifications:

        County officials used pretextual legal arguments, such as 25 P.S. § 2648, to deny Plaintiff

        access to public voting records while granting the same records to others, including

        election vendors. These pretexts were part of a broader policy of suppression and

        discrimination that targeted Plaintiff and his efforts to ensure election transparency (see

        Paragraphs 31 and 34).

G. Ultra Vires and Take Care Clause Violation

Although many of Defendants’ actions were taken under the guise of official policies, County

officials exceeded their lawful authority under Title 53, Section 2962 of the Pennsylvania

Consolidated Statutes by mishandling election procedures and failing to comply with federal

law. Their actions also violated their duty under the Take Care Clause of the U.S. Constitution to

faithfully execute federal election law, including HAVA, which further supports Plaintiff’s

claims for Monell liability.

H. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury.

I. Relief Sought

Plaintiff seeks:

    1. Declaratory Relief

    2. Injunctive Relief


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   3. Compensatory Damages

   4. Punitive Damages

   5. Such other relief as the Court deems just and proper.




COUNT XII: ABUSE OF PROCESS
A. Capacity References

This Count is asserted against:

   •   County of Lancaster (Official Capacity)

   •   Tammy Bender (Individual and Official Capacities)

   •   Jacqueline Pfursich (Individual and Official Capacities)

   •   Joshua Parsons (Individual and Official Capacities)

   •   Ray D’Agostino (Individual and Official Capacities)

   •   Christa Miller (Individual and Official Capacities)

B. Summary of Count

Plaintiff alleges that Defendants abused legal processes, including public records requests and

litigation, to delay, coerce, and obstruct Plaintiff’s rights. Defendants used legal mechanisms not

for their intended purposes but to harass and burden Plaintiff, including by pursuing a sanctions

motion and invoking pretextual legal justifications for denying access to election records.

Defendants’ refusal to grant access to public election records is inconsistent with the ruling in

Previte v. Erie County Board of Elections, where the court affirmed that such records must be

accessible (See Exhibit 07).

C. Jurisdictional Basis


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This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) because Plaintiff seeks to

redress the deprivation of rights secured by the U.S. Constitution under 42 U.S.C. § 1983. Venue

is proper under 28 U.S.C. § 1391(b) because Defendants reside in and the events giving rise to

this claim occurred in the Eastern District of Pennsylvania.

D. Elements of Abuse of Process Claim

   1. Legal Process Used Improperly: Defendants must have used legal process for an

       illegitimate purpose.

   2. Improper Motive: Defendants must have had an improper motive or objective unrelated

       to the legal process itself.

   3. Harm to Plaintiff: The improper use of legal process must have harmed the Plaintiff.

E. Restatement Clause

Plaintiff incorporates by reference the factual allegations in Paragraphs 15–17, 19, 21–23, 27, 31,

34, 36, and 41–43 of the Factual Allegations Section as if fully set forth herein.

F. Unified Conduct and Elements by Defendant

   1. County of Lancaster

           o   County officials, through the County’s policies and practices, pursued legal

               processes like a sanctions motion to intimidate and coerce Plaintiff into

               withdrawing his legal actions (see Paragraphs 35, 36).

   2. Tammy Bender

           o   Official Capacity: Bender manipulated public records requests, providing

               pretextual denials to frustrate Plaintiff’s access to public information (see

               Paragraph 34).

           o   Individual Capacity: In her individual capacity, Bender knowingly enforced


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          policies aimed at obstructing Plaintiff’s access to critical records, beyond her

          lawful authority (see Paragraph 34).

3. Jacqueline Pfursich

      o   Official Capacity: Pfursich issued and directed legal justifications used to obstruct

          Plaintiff’s access to records, misapplying laws such as 25 P.S. § 2648 (see

          Paragraph 34).

      o   Individual Capacity: Pfursich, in her individual capacity, actively participated in

          abuse of the process by directing arbitrary denials and misapplications of legal

          processes (see Paragraph 34).

4. Joshua Parsons and Ray D’Agostino

      o   Official Capacities: These Defendants ratified and supported the County’s abuse

          of process, including filing motions aimed at coercing Plaintiff into dropping his

          legal actions (see Paragraph 35).

      o   Individual Capacities: Parsons and D’Agostino participated individually in the

          decision to pursue a sanctions motion and other legal actions meant to coerce

          Plaintiff rather than serve a legitimate legal purpose (see Paragraph 35).

5. Christa Miller

      o   Official Capacity: C. Miller, in her role as Chief Registrar, provided misleading

          information during the HAVA hearing to support the County’s abuse of process,

          obstructing Plaintiff’s access to records (see Paragraph 27).

      o   Individual Capacity: In her individual capacity, C. Miller knowingly participated

          in the abuse of legal mechanisms, including falsely testifying to support the

          County’s position in denying records to Plaintiff (see Paragraph 27). (See Exhibit


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                   04).

G. Color of Law Statement

All actions alleged in this count were taken by Defendants under color of state law in their

respective capacities as officers, employees, or agents of the County of Lancaster. Each

Defendant’s conduct constitutes state action and is actionable under 42 U.S.C. § 1983.

H. General Liability Reference

This Count incorporates by reference the General Liability Section, which outlines County’s

Monell liability for official policies and supervisory defendants’ liability for their direct

involvement in and ratification of the unlawful actions.

I. Consolidated Damages Claim Reference

This Count incorporates by reference the Consolidated Damages Claim Section, which

comprehensively describes the harm Plaintiff has experienced due to Defendants’ actions,

including emotional distress, reputational harm, suppression of advocacy efforts, financial losses,

and irreparable injury under Elrod v. Burns.

J. Relief Sought

Plaintiff seeks:

    1. Declaratory Relief

    2. Injunctive Relief

    3. Compensatory Damages

    4. Punitive Damages (where applicable)

    5. Such other relief as the Court deems just and proper.




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               XIV.       CONSOLIDATED RELIEF SECTION

Plaintiff respectfully requests that this Court grant the following relief against Defendants:

   1. Declaratory Relief

           o   A declaration that Defendants’ conduct violated Plaintiff’s rights under applicable

               federal and state laws.

           o   A declaration that the laws, regulations, or actions applied by Defendants are

               unconstitutional, invalid, or otherwise unlawful under applicable federal and state

               laws.

   2. Injunctive Relief

           o   An injunction prohibiting Defendants from engaging in unlawful conduct and

               requiring appropriate remedial actions.

           o   An injunction preventing Defendants from enforcing or applying the invalid laws,

               regulations, or actions, and requiring Defendants to comply with lawful standards.

   3. Compensatory Damages

           o   Against Defendants in their official capacities for harm caused to Plaintiff.

   4. Punitive Damages

           o   Against Defendants in their individual capacities for willful, wanton, and reckless

               conduct.

   5. Costs and Expenses

           o   An award for any costs and expenses incurred by Plaintiff in pursuing this action.

   6. Other Relief

           o   Any further relief this Court deems just and proper.




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                 XV.     EXHIBIT LIST

Exhibit Number   Title                              Referenced In

Exhibit 01       May 17, 2022 Ballot Remarking      Prior Restraint,
                 Instructions                       Conspiracy, HAVA
                                                    Violation
Exhibit 02       October 5, 2022 Conditions and     Due Process, Prior
                 Restraints on Miller               Restraint
Exhibit 03       Transcript of October 12, 2022     Due Process, Prior
                 Board Meeting                      Restraint, Conspiracy
Exhibit 04       November 17, 2022 C. Miller        Due Process, Abuse of
                 Affidavit                          Process
Exhibit 05       "Ex-Hopeful" in Article            Retaliation
Exhibit 06       Department of State Dismissal of   HAVA Violation, Right of
                 HAVA Complaint                     Petition
Exhibit 07       Previte Decision in Commonwealth   Prior Restraint, Due
                 Court                              Process
Exhibit 08       January 9, 2023 HAVA Hearing       HAVA Violation
Exhibit 09       OOR Final Determination            Prior Restraint




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                                       JURY DEMAND

                     Plaintiff demands a trial by jury on all claims so triable.




                XVI.      VERIFICATION AND SIGNATURE

I, Michael Miller, declare under penalty of perjury that the factual allegations set forth in the

foregoing Complaint are true and correct to the best of my knowledge, information, and belief.

Date: October 12, 2024
Signature: /s/ Michael Miller
Michael Miller
108 North Reading Road, F, Ste. 246
Ephrata, Pennsylvania 17522
717-388-0163
reaganfive@protonmail.com




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XVII.NOTICE OF CONSTITUTIONAL CHALLENGE UNDER RULE 5.1

        Pursuant to Rule 5.1 of the Federal Rules of Civil Procedure, Miller provides notice that

 the constitutionality of Chapter 13 of the Pennsylvania Right-to-Know Law are challenged in

 this complaint. Miller will serve a copy of this complaint on the Attorney General of

 Pennsylvania.




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[Clerks Office Only]
Submission Details
No Value

Name:
Michael Miller

Email Address:
If you provide your email address you are consenting to service by email. You will receive notice of court documents, as
well as documents filed by other parties in the case, at the email address you provide and not via U.S. mail
reaganfive@protonmail.com

Phone Number
717-388-0163

Are you filing a new case?
If you are filing a new case, you must pay the filing fee and administrative fee to the Clerk of Court to proceed with your
case. If you cannot afford to pay those fees, you must file a motion to proceed without prepayment of the fees, known
as a motion to proceed in forma pauperis. Please see the Court’s website for instructions regarding how to pay the fees
and forms for proceeding in forma pauperis.
No, I'm not filing a new case.

Case Caption
Enter the caption of the case in which you are filing the same way that the case caption appears on the docket. If you
are filing a new case, enter NEW CASE in the field below.
Michael Miller, Plaintiff, v. County of Lancaster, Tammy Bender, Jacqueline Pfursich, Joshua Parsons, Ray D’Agostino,
Christa Miller, Defendants.

Case Number
Enter the number of the case in which you are filing. To file a document in more than one case, you must complete this
form for each case in which you would like to file the document. Failure to include your case number may result in
processing delays and/or the misfiling of your paper. If you do not know your case number, you can contact the Clerk’s
Office by emailing PAED_clerksoffice@paed.uscourts.gov. If you are filing a new case, enter NEW CASE in the field
below.
5:24-cv-05338

Description of Document(s)
Please provide a brief description of the document or documents that you are filing. For example, some common
submissions are “Complaint,” “Motion to Proceed In Forma Pauperis,” “Amended Complaint,” “Motion,” “Response,”
“Notice,” “Exhibit.” The description will assist the Clerk’s Office in timely processing your document and will not
necessarily appear on the docket.
Complaint - First Amended

Terms of Submission
By submitting these documents to the Court, I represent the following: (1) I am intending to file, or am submitting on
behalf of an individual who intends to file, the attached document(s) with the United States District Court for the Eastern
District of Pennsylvania. (2) This filing is made in compliance with Federal Rule of Civil Procedure Rule 11, which
requires me to sign documents that I submit to the Court for filing, and all applicable statutes and court rules to the best
of my ability. (3) I consent to accept service of all notices and papers regarding this case at the email address I have
provided. I understand that I will no longer receive service of orders and other court documents by mail. I agree to
promptly notify the Clerk of Court if there is any change to my email address. (4) I understand that use of the EDS
system may be terminated for non-compliance or abuse of this privilege.
Yes

Do you have a mailing address?
Yes

Select 'Yes' if you do not have a mailing address.
No Value
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Mailing Address Line 1
Please include a current mailing address where you can be reached by the Court. Enter N/A if you do not have a
mailing address.
108 North Reading Road, Suite F, 246

Mailing Address Line 2
No Value

City:
Enter NA if not applicable.
Ephrata

State:
Enter NA if not applicable.
Pennsylvania

Zip Code:
Enter NA if not applicable.
17522

Other
No Value
EXHIBIT H
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